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                                             Attorneys for Plaintiff
                                             Bessemer System Federal Credit Union
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([HFXWLYH2IILFHU³Yes,we agree, Bessemer System FCU has experienced an extreme number

of issues´

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DIIHFWHGFOLHQWVZKHQWKHUHDUHVHFXULW\SUREOHPVDQGKROGLQJFXVWRPHUV¶GDWDKRVWDJHZKHQ

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            ,QDGGLWLRQWRKDUPLQJ%HVVHPHUDQGLWVPHPEHUV)LVHUY¶VPLVFRQGXFW

VLJQLILFDQWO\KDUPVFUHGLWXQLRQVVPDOOILQDQFLDOLQVWLWXWLRQVDQGDOOWKHFRQVXPHUVWKH\VHUYH

,I)LVHUYLVDOORZHGWRFRQWLQXHLWVFRXUVHRIPLVFRQGXFWLWZLOOEHHQFRXUDJHGWRFRQWLQXH

WKUHDWHQLQJLWVFOLHQWVZKHQVHFXULW\LVVXHVDUHUHSRUWHGUDWKHUWKDQPDNLQJWKHSURSHU

LQYHVWPHQWVWRHQVXUHWKDWFRQVXPHUV¶LQIRUPDWLRQLVEHLQJSURSHUO\VDIHJXDUGHGDQGDFFXUDWHO\

UHSRUWHG7KDWUHVXOWZRXOGVLJQLILFDQWO\WKUHDWHQWKHWKRXVDQGVRIILQDQFLDOLQVWLWXWLRQVWKDW

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&UHGLW8QLRQ$GPLQLVWUDWLRQ¶VORZLQFRPHGHVLJQDWLRQUHIOHFWLQJ%HVVHPHU¶VGHGLFDWLRQWR

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           )RXQGHGLQ)LVHUYLVRQHRIWKHZRUOG¶VODUJHVWSURYLGHUVRIWHFKQRORJ\

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ILQDQFLDOLQVWLWXWLRQVLQWKH8QLWHG6WDWHV)LVHUYDGPLQLVWHUVPLOOLRQGHSRVLWDFFRXQWVPRUH

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EHKLQGDILQDQFLDOLQVWLWXWLRQSURFHVVLQJDQGUHFRUGLQJDOOWUDQVDFWLRQVIRUWKHILQDQFLDO

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DFFHVVHG9LUWXDO%UDQFKKHRUVKHFRXOGHQJDJHLQWUDQVDFWLRQVDIIHFWLQJD%HVVHPHUDFFRXQW

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ULJKW\RXUFXVWRPHUVDUHVDWLVILHGDQG\RXUZRUNIRUFHLVPD[LPDOO\XWLOL]HG²DQG\RXUSURILWV

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HQWHUSULVHHVSHFLDOO\RQWKHERWWRPOLQH´SeeKWWSVZZZILVHUYFRPSURFHVVLQJ

VHUYLFHVDFFRXQWSURFHVVLQJDVS[ ODVWYLVLWHG-XO\ 

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RXUEXVLQHVVUHTXLUHVWKDWDOO)LVHUYFRPSXWHUV\VWHPVDQGQHWZRUNVWKDWSURFHVVILQDQFLDO

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7KHFRPSDQ\LVILUPO\FRPPLWWHGWRRSHUDWLQJDQGPDLQWDLQLQJLWVWHFKQRORJ\DVVHWVLQDPDQQHU

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KWWSVLQYHVWRUVILVHUYFRPVWDWLFILOHVFHIEEEFDDDFFHGEGEF ODVWYLVLWHG

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UHVSRQVLELOLW\WRVDIHJXDUGFRQILGHQWLDOLQIRUPDWLRQZKHQLWLVFROOHFWHGXVHGWUDQVPLWWHGDQG

VWRUHGWRSUHYHQWDQ\XQDXWKRUL]HGGLVFORVXUH«7KLVLQFOXGHVWKHSHUVRQDOLQIRUPDWLRQWKDWZH

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            -XVWDV)LVHUYUHFRJQL]HGDQGDFNQRZOHGJHVLQLWVSURPRWLRQDOPDWHULDODQG&RGH

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UHSUHVHQWHGWR%HVVHPHUKDVEHHQZUHDNLQJKDYRFWKURXJKRXW%HVVHPHU¶VRSHUDWLRQVDQG

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    Fiserv Deceives Bessemer by Misrepresenting Its Security Practices and Service Offerings

            %HVVHPHUDQG)LVHUY6ROXWLRQVHQWHUHGLQWRD³PDVWHUDJUHHPHQW´ WKH³0DVWHU

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               9LUWXDO%UDQFKPDWFKXSWRWKHLUH[SHFWDWLRQV"$Q\WKLQJ,QHHGWREHDZDUHRIRU
               FRQFHUQHGDERXW"7KDQNV/LQGD

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,QUHDOLW\)LVHUYHPSOR\HGDGHILFLHQWDXWKHQWLFDWLRQSURFHVVWKDWZDVQRWFRPSOLDQWZLWK)),(&

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LQDGHTXDWHIRUKLJKULVNWUDQVDFWLRQVLQYROYLQJDFFHVVWRFXVWRPHULQIRUPDWLRQRUWKHPRYHPHQW
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RIIHUV³DOOWKHFRPSRQHQWVUHTXLUHGIRUFUHGLWXQLRQRSHUDWLRQVSOXVHVWDEOLVKHGLQWHUIDFHVWRD

IXOOUDQJHRIDQFLOODU\SURGXFWVDQGVHUYLFHV´SeeKWWSVZZZILVHUYFRPUHVRXUFHVFKDUORWWH

EURFKXUHDVS[ ODVWYLVLWHG-XO\ 

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HDVH%DFNHGE\DZRUOGFODVVFXVWRPHUVXSSRUWWHDPWKDWLVGHGLFDWHGWRKHOSLQJFUHGLWXQLRQV

DFKLHYHWKHLUJURZWKJRDOV&KDUORWWHGHOLYHUVDOORI\RXUHVVHQWLDODFFRXQWSURFHVVLQJIXQFWLRQV




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FUHGLWXQLRQVWRVWD\FRPSHWLWLYH&KDUORWWHKDVDZLGHDUUD\RIDGYDQFHGVROXWLRQVVXFKDV

OHQGLQJ,QWHUQHWEDQNLQJGRFXPHQWLPDJLQJDQGPRUHFDSDELOLWLHVWRFKRRVHIURPDLPHGDW

KHOSLQJFUHGLWXQLRQVLQFUHDVHSURGXFWLYLW\DQGHIILFLHQF\´See

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    ODVWYLVLWHG-XO\ 

               $VSDUWRI)LVHUY¶V³&RPPLWPHQWWR$FFXUDWH$FFRXQWLQJDQG5HFRUGNHHSLQJ´

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VWDII´DQGWKDW³>D@VWHFKQRORJ\WRROVEHFRPHPRUHDGYDQFHGVRGRHVWKH&KDUORWWHVROXWLRQ

)LVHUYFRQWLQXHVWRPDNHWLPHO\XSGDWHVDQGHQKDQFHPHQWVWRWKH&KDUORWWHV\VWHPWRHQVXUHWKDW

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VHUYLFHVLQDPDQQHUWKDWFRQWLQXRXVO\FRPSOLHVZLWKDSSOLFDEOHODZVDQGUHJXODWLRQV«

%HFDXVHWKHSULQFLSDOPDUNHWIRURXUSURGXFWVDQGVHUYLFHVLVWKHUHJXODWHGILQDQFLDOVHUYLFHV

LQGXVWU\WKHFRQVHTXHQFHVRIQRQFRPSOLDQWRIIHULQJVFRXOGVHULRXVO\GDPDJHRXUUHSXWDWLRQ

DQGILQDQFLDOLQWHUHVWV)LVHUYVKRXOGXVHDOOUHDVRQDEOHPHDVXUHVWRDYRLGFRQVXPHUKDUPWR

DVVLVWRXUFOLHQWVLQDYRLGLQJFRQVXPHUKDUPDQGLQGLOLJHQWO\LQYHVWLJDWLQJDQ\FODLPVE\RXU

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SURFHVVLQJ3HUVRQDO,QIRUPDWLRQ´SeeKWWSVZZZILVHUYFRPDERXWSULYDF\SROLF\DVS[ ODVW

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FRPSUHKHQVLYHDSSURDFKWRNHHS\RXUILQDQFLDOLQVWLWXWLRQ VGDWDDQGUHSXWDWLRQVDIH«2XU

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                Fiserv’s History of Failing to Protect Confidential Financial Records

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             $FFRUGLQJWR6HFXULW\6FRUHFDUG,QFDFRPSDQ\VXFKDV)LVHUYUDWHGEHORZD%

LV5.4 times more likely to suffer a consequential breachWKDQDFRPSDQ\ZLWKSURSHUVHFXULW\

SUDFWLFHV

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XQFRYHUHGRYHUZHDNQHVVHVLQ)LVHUY¶VVHFXULW\LQFOXGLQJWKHIROORZLQJ

                    D   )LVHUYIDLOVWRSURPSWO\XSGDWHDQGSDWFKDIIHFWHGV\VWHPVWRSURWHFW

DJDLQVWFRPPRQO\NQRZQVHFXULW\YXOQHUDELOLWLHVDQGH[SRVXUHVLQFOXGLQJGHOD\LQJUHPHGLDWLRQ

RIKLJKVHYHULW\YXOQHUDELOLWLHVIRUPRUHWKDQGD\VDIWHUSXEOLFDWLRQ

                    E   )LVHUYHPSOR\VSURGXFWVDQGVHUYLFHVSDVWWKHLUHQGRIOLIHRUHQGRI

VHUYLFHGHDGOLQHV$VWKHVHSURGXFWVDQGVHUYLFHVDUHQRORQJHUPDUNHWHGVROGRUXSJUDGHGE\

WKHPDQXIDFWXUHUVWKH\DUHPRUHOLNHO\WREHH[SORLWHGDQGWRKDYHXQSDWFKHGVHFXULW\

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      DGGLWLRQDOLQFLGHQWVRI)LVHUY¶VPLVFRQGXFWZLOOEHLGHQWLILHGDIWHUDUHDVRQDEOHRSSRUWXQLW\
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                   H   )LVHUYUXQVVHUYHUVXVLQJDQREVROHWH6HFXUH6KHOO 66+ QHWZRUNSURWRFRO

WKDWFRQWDLQVIXQGDPHQWDOZHDNQHVVHVWKDWFDQEHUHDGLO\H[SORLWHGE\KDFNHUVLQFOXGLQJD

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                   I   )LVHUYHPSOR\VZHDNFLSKHUVDQGHQFU\SWLRQFHUWLILFDWHVWKDWDUHH[SLUHG

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                   J   )LVHUY¶VZHEDSSOLFDWLRQVGRQRWLPSOHPHQW;;663URWHFWLRQEHVW

SUDFWLFHVPHDQLQJWKDWKDFNHUVFDQVHQGPDOLFLRXV85/VWKDWLQMHFWFRGHLQWR)LVHUYKRVWHG

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                   K   )LVHUY¶VZHEDSSOLFDWLRQVGRQRWLPSOHPHQW;&RQWHQW7\SH2SWLRQV%HVW

3UDFWLFHVZKLFKFRXOGOHDGWRVHFXULW\LVVXHVDQGWKHH[HFXWLRQRIPDOLFLRXVFRGH

                   L   )LVHUY¶VZHEVLWHVGRQRWLPSOHPHQW+676EHVWSUDFWLFHVZKLFKUHQGHU

)LVHUYKRVWHGVLWHVYXOQHUDEOHWRDPDQLQWKHPLGGOHDWWDFNWKDWFDQGLYHUWXVHUVWRPDOLFLRXV

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                   M   )LVHUY¶VZHEVLWHVGRQRWHQIRUFH+7736HQFU\SWLRQOHDYLQJXVHUV

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                   N   )LVHUY¶VZHEVLWHVUHGLUHFWXVHUVWRDQHZ85/LQDZD\WKDWFDQQRWEH

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SDVVHVWKURXJKRQHRUPRUH85/VVHUYHGRYHU+773 LQVWHDGRI+7736 ZKLFKZHDNHQVRWKHU

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XVHGWRPDNHVRFLDOHQJLQHHULQJDWWDFNVDSSHDUPRUHOHJLWLPDWHRULWFDQEHXVHGIRU

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EHOLHYHVZHUHHPSOR\HHVRIDQRWKHUILQDQFLDOLQVWLWXWLRQXVLQJ)LVHUY¶VVHUYLFHV7KH

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PRYHGRUKDGVXSSOLHGLQFRUUHFWDGGUHVVHVZHUHHDUPDUNHGWREHVHQWWRD8QLWHG6WDWHV3RVWDO

6HUYLFH³GXPSSLOH´EHFDXVHRIWKHLQYDOLGUHWXUQDGGUHVV)LVHUYSODFHGRQWKHVWDWHPHQWV0DQ\

RIWKHXQGHOLYHUDEOHVWDWHPHQWVZKLFKFRQWDLQFRQILGHQWLDOPHPEHULQIRUPDWLRQZHUH

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DQGRXWUHDFKFKDQQHOV,QDSRVWUHVSRQGLQJWRWKHKrebs on SecurityDUWLFOH$GDP.LQGHU

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DERYHDQGEH\RQGFXVWRPHUVXSSRUWDQGRXWUHDFKEUDQFKHVWRDGGUHVVWKHLUFRQFHUQV´

           2QWKHKHHOVRIWKHKrebs on SecurityDUWLFOHLQGLFDWLQJWKDW)LVHUY¶VRQOLQH

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KDGZLWK)LVHUY%HVVHPHUFRQGXFWHGDUHYLHZRI)LVHUY¶VVHFXULW\FRQWUROV

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QXPEHU*LYHQWKHZHDNVHFXULW\FRQWUROV)LVHUYLPSOHPHQWHGRQ%HVVHPHU¶VRQOLQHEDQNLQJ

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WKHODVWIRXUGLJLWVRIDPHPEHU¶V6RFLDO6HFXULW\QXPEHU

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RID6RFLDO6HFXULW\QXPEHULVLQVXIILFLHQWWRDXWKHQWLFDWHDQDXWKRUL]HGXVHURIDQRQOLQH

EDQNLQJDFFRXQWEHFDXVHIUDXGVWHUVDOUHDG\KDYHWKDWLQIRUPDWLRQ

       )UDXGVWHUVORRNIRUZD\VWRWDNHRYHUFXVWRPHUV¶DQGPHPEHUV¶DFFRXQWVRIWHQZLWK
       RQOLQHEDQNLQJFUHGHQWLDOV«$Q\YXOQHUDELOLWLHVLQWKHDFFRXQWRSHQLQJSURFHVVZLOO
       OLNHO\EHWHVWHG«,I,FDOOP\EDQNWRUHVHWP\SDVVZRUGDQGWKH\DVNP\PRWKHU¶V
       PDLGHQQDPHor last four digits of my Social Security number, that’s not enough…
       Fraudsters already have that information

SeeKWWSVZZZILVHUYFRPHQDERXWILVHUYWKHSRLQWPDQDJLQJSSSD\PHQWULVNUHDOWLPH

HQYLURQPHQWKWPO ODVWYLVLWHG-XO\  HPSKDVLVDGGHG 




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HQIRUFHGE\WKHRQOLQHEDQNLQJV\VWHPWRVWRSXQDXWKRUL]HGLQGLYLGXDOVIURPXVLQJDSXUHWULDO

DQGHUURUJXHVVLQJSURFHVV ZKLFKFDQHDVLO\EHDXWRPDWHG WRJXHVVWKHODVWIRXUGLJLWVRID

PHPEHU¶V6RFLDO6HFXULW\QXPEHUDQGJDLQDFFHVVWR%HVVHPHU¶VRQOLQHEDQNLQJDFFRXQWV$VD

FRQVHTXHQFHDQXQDXWKRUL]HGLQGLYLGXDOFRXOGWDNHRYHUDQRQOLQHEDQNLQJDFFRXQWPHUHO\E\

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DFFHVVWKURXJKWULDODQGHUURURU³JXHVVLQJ´:LWKUHVSHFWWR%HVVHPHU¶VRQOLQHEDQNLQJ

ZHEVLWH)LVHUYIDLOHGWRLPSOHPHQWUHDVRQDEOHVHFXULW\FRQWUROVVXFKDVWKRVHWKDW

                   D   UHTXLUHWKHXVHRIDQDXWKHQWLFDWLRQSURFHGXUHZLWKVXIILFLHQWFRPSOH[LW\

DQGVHFUHF\

                   E   LPSOHPHQWDUDWHOLPLWLQJPHFKDQLVPWRHIIHFWLYHO\OLPLWWKHQXPEHURI

IDLOHGDXWKHQWLFDWLRQDWWHPSWVWKDWFDQEHPDGHRQDQRQOLQHEDQNLQJDFFRXQW

                   F   UHTXLUHDQLQGLYLGXDOWRFRPSOHWHD³FDSWFKD´ DVLPSOHSX]]OHXVHGWR

WKZDUWDXWRPDWHGDFFHVVDWWHPSWV 

                   G   LPSRVHDQDGHTXDWHZDLWLQJRUORFNRXWSHULRGIROORZLQJDIDLOHGORJLQ

DWWHPSWDQG

                   H   OHYHUDJHRWKHUULVNEDVHGRUDGDSWLYHDXWKHQWLFDWLRQWHFKQLTXHVWRLGHQWLI\

XVHUEHKDYLRUWKDWIDOOVRXWVLGHW\SLFDOQRUPVLQFOXGLQJUHSHWLWLYHKLJKO\DQRPDORXVEHKDYLRU

FRQVLVWHQWZLWKD³JXHVVLQJ´RUWULDODQGHUURUPHWKRGWRJDLQDFFHVVWR%HVVHPHU¶VRQOLQH

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UHJLVWHULQJIRUDQDFFRXQWWRVXSSO\DPHPEHU¶VKRXVHQXPEHU7KLVZDVLQHIIHFWLYHEHFDXVH

UHVLGHQWLDOVWUHHWDGGUHVVHVFDQUHDGLO\EHIRXQGRQWKHLQWHUQHWDQGWKURXJKRWKHUSXEOLFVRXUFHV

0RUHRYHUWKLVLQIRUPDWLRQFDQEHJXHVVHGWKURXJKDWULDODQGHUURUSURFHVV0RVWDODUPLQJO\

WKLVVHFXULW\FRQWUROZDVLOOXVRU\%HFDXVHVRPHVHUYHUVZHUHQRWHQIRUFLQJWKLVVHFXULW\FKHFN

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RI%HVVHPHU¶VOHWWHUWR)LVHUYFRQFHUQLQJWKHVHFXULW\UHYLHZ7KLVOHWWHUDOVRUHTXHVWHGWKDW

)LVHUYSURYLGHGRFXPHQWVWRSHUPLWDQDXGLWRILWVVHFXULW\SUDFWLFHVWRHQVXUHWKDW%HVVHPHU¶V

PHPEHULQIRUPDWLRQZDVEHLQJSURSHUO\VDIHJXDUGHG

            $GGLQJLQVXOWWRLQMXU\UDWKHUWKDQIL[LQJWKHVHVHFXULW\SUREOHPVDQGSURYLGLQJ

WKHUHTXHVWHGDVVXUDQFHVWKDWLQIRUPDWLRQZDVEHLQJDGHTXDWHO\VDIHJXDUGHG)LVHUYLVVXHG

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EDQNLQJV\VWHP³JLYHVULVHWRFODLPV ERWKFLYLODQGFULPLQDO ´DQGGHPDQGLQJWKDW%HVVHPHU

QRWGLVFORVHLQIRUPDWLRQUHODWLQJWRWKHVHFXULW\UHYLHZWRDQ\WKLUGSDUWLHVLQFOXGLQJ)LVHUY¶V

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$JUHHPHQWDFNQRZOHGJHVWKDW%HVVHPHU¶VUHFRUGVDQGLQIRUPDWLRQ³VKDOOUHPDLQWKHSURSHUW\RI

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,QGHHG)LVHUY¶V)RUPV.ILOHGZLWKWKH8QLWHG6WDWHV6HFXULWLHVDQG([FKDQJH&RPPLVVLRQ

IRUDWOHDVWWKHSDVWVHYHUDO\HDUVFRQFHGHWKDW)LVHUYH[SHFWVWKDWLWVILQDQFLDOLQVWLWXWLRQFOLHQWV

ZLOO³FRQGXFWRQJRLQJPRQLWRULQJDQGULVNPDQDJHPHQWIRUWKLUGSDUW\UHODWLRQVKLSV´DQGWKDW

³LQGHSHQGHQWDXGLWRUVDQQXDOO\UHYLHZPDQ\RIRXURSHUDWLRQVWRSURYLGHLQWHUQDOFRQWURO

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RWKHUV7KH0DVWHU$JUHHPHQWH[SUHVVO\JLYHV%HVVHPHU³WKHULJKWWRPDNHJHQHUDOUHIHUHQFHV

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GLVSXWHVDQGIDFLQJWKHWKUHDWRI)LVHUYSRWHQWLDOO\SURVHFXWLQJFLYLODQGFULPLQDOFODLPVDJDLQVW




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WKUHDWV³FRQWLQXHWRHYROYH´DQGWKDW)LVHUY³PD\QRWEHDEOHWRSUHYHQWDPDWHULDOHYHQWLQWKH

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PLVOHDGLWVFXVWRPHUVLQWRFRQWLQXLQJWRHQWUXVWWKHLUFRQILGHQWLDOLQIRUPDWLRQZLWK)LVHUYZKLOH

PDLQWDLQLQJDKLJKVWRFNSULFHDUWLILFLDOO\LQIODWLQJWKHYDOXHRILWVFRUSRUDWHJRRGZLOODQG

FRQWLQXLQJWRUHFHLYHSD\PHQWVIURPILQDQFLDOLQVWLWXWLRQV)LVHUY¶V6(&)RUP.

DGPLWVWKDWDVHFXULW\LQFLGHQWDOORZLQJXQDXWKRUL]HGDFFHVVWRFOLHQWV¶GDWDFRXOGJLYH³DORVVRI

FRQILGHQFHLQRXUDELOLW\WRVHUYHFOLHQWVDQGFDXVHFXUUHQWRUSRWHQWLDOFOLHQWVWRFKRRVHDQRWKHU

VHUYLFHSURYLGHU«ZKLFKFRXOGKDYHDPDWHULDODGYHUVHLPSDFWRQRXUEXVLQHVV´%\

LQWHQWLRQDOO\IDLOLQJWRGLVFORVHRUVXSSUHVVLQJLQIRUPDWLRQDERXWLWVVHFXULW\SUREOHPV)LVHUY

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            %HFDXVH%HVVHPHU¶VFRUHIXQFWLRQLVVHUYLQJLWVPHPEHUV¶ILQDQFLDOQHHGV

%HVVHPHULVIDFHGZLWKLQFUHDVHGFRVWVRIGHDOLQJZLWKPHPEHUVZKRKDYHSODFHGIUDXGDOHUWVRU

FUHGLWIUHH]HVLQUHVSRQVHWR)LVHUY¶VGDWDEUHDFKHVPDNLQJLWLPSRVVLEOHRUEXUGHQVRPHIRU

%HVVHPHUWRHYDOXDWHPHPEHUV¶FUHGLWZRUWKLQHVVIRUFXUUHQWRUSRWHQWLDOFUHGLWRUORDQV,Q

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UHVXOWLQJLPSDFWWKDWDGDWDEUHDFKZRXOGKDYHRQDILQDQFLDOLQVWLWXWLRQVXFKDV%HVVHPHU

            8QIRUWXQDWHO\)LVHUY¶VDSSURDFKWRPDLQWDLQLQJWKHSULYDF\DQGVHFXULW\RILWV

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IUDXGXOHQWDFWLYLW\LQYROYLQJLWVPHPEHUV:KLOHFRQVXPHUVDUHXOWLPDWHO\SURWHFWHGIURPPRVW

IUDXGORVVHV%HVVHPHULVQRWDVILQDQFLDOLQVWLWXWLRQVEHDUSULPDU\UHVSRQVLELOLW\IRUUHLPEXUVLQJ

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              Bessemer’s Member Information Is Very Valuable on the Black Market

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REWDLQLQJ,'FDUGVRUGULYHU¶VOLFHQVHVIUDXGXOHQWO\REWDLQLQJWD[UHWXUQVDQGUHIXQGVDQG

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       LQGLYLGXDOYLFWLPVJHQHUDOO\DUHQRWKHOGUHVSRQVLEOHIRUIUDXGXOHQWFKDUJHV
       ,QGLYLGXDOYLFWLPVKRZHYHUDOVRFROOHFWLYHO\VSHQGELOOLRQVRIGROODUVUHFRYHULQJ
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       ,QDGGLWLRQWRWKHORVVHVWKDWUHVXOWZKHQLGHQWLW\WKLHYHVIUDXGXOHQWO\RSHQ
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       LQGLUHFWFRVWVWREXVLQHVVHVIRUIUDXGSUHYHQWLRQDQGPLWLJDWLRQRIWKHKDUPRQFHLW
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       6LPLODUO\LQGLYLGXDOYLFWLPVRIWHQVXIIHULQGLUHFWILQDQFLDOFRVWVLQFOXGLQJWKH
       FRVWVLQFXUUHGLQERWKFLYLOOLWLJDWLRQLQLWLDWHGE\FUHGLWRUVDQGLQRYHUFRPLQJWKH
       PDQ\REVWDFOHVWKH\IDFHLQREWDLQLQJRUUHWDLQLQJFUHGLW«

       ,QDGGLWLRQWRRXWRISRFNHWH[SHQVHVWKDWFDQUHDFKWKRXVDQGVRIGROODUVIRUWKH
       YLFWLPVRIQHZDFFRXQWLGHQWLW\WKHIWDQGWKHHPRWLRQDOWROOLGHQWLW\WKHIWFDQ
       WDNHVRPHYLFWLPVKDYHWRVSHQGZKDWFDQEHDFRQVLGHUDEOHDPRXQWRIWLPHWR
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       PRQLWRUWKHLUUHSRUWVIRUIXWXUHLQDFFXUDFLHVFORVHH[LVWLQJEDQNDFFRXQWVDQG
       RSHQQHZRQHVDQGGLVSXWHFKDUJHVZLWKLQGLYLGXDOFUHGLWRUV




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5HSRUWEDVHGRQRQHRIWKHODUJHVWFRQVXPHU

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WKHJOREDOSULFHWDJRIF\EHUFULPHZDVDURXQG

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WKHLQWHUQHWWKDWPDNHVLWGLIILFXOWIRUDXWKRULWLHVWRGHWHFWDZHEVLWH¶VORFDWLRQRURZQHUV7KH

GDUNZHELVQRWLQGH[HGE\QRUPDOVHDUFKHQJLQHVVXFKDV*RRJOHDQGLVDFFHVVLEOHRQO\E\XVLQJ

D7RUEURZVHU RUVLPLODUWRRO ZKLFKDLPVWRFRQFHDOXVHUV¶LGHQWLWLHVDQGRQOLQHDFWLYLW\7KH

GDUNZHELVQRWRULRXVIRUKRVWLQJPDUNHWSODFHVVHOOLQJLWHPVVXFKDVZHDSRQVGUXJVDQG

PHPEHULQIRUPDWLRQ6LWHVRQWKHGDUNZHEDSSHDUDQGGLVDSSHDUTXLFNO\SURYLGLQJFRYHUIRU

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GLIIHUHQWDUHDVRIWKHYLFWLP¶VGLJLWDOOLIHLQFOXGLQJILQDQFLDODFFRXQWVVRFLDOPHGLDDQGFUHGLW

FDUGGHWDLOV'XULQJWKDWSURFHVVRWKHUVHQVLWLYHGDWDPD\EHKDUYHVWHGIURPWKHYLFWLP¶V

DFFRXQWVDVZHOODVIURPWKRVHEHORQJLQJWRIDPLO\IULHQGVDQGFROOHDJXHV

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DUHOLQNHGWRRWKHUDFFRXQWV IRUH[DPSOHWRWUDQVIHUIXQGVEHWZHHQILQDQFLDOLQVWLWXWLRQV D

KDFNHGRQOLQHEDQNLQJDFFRXQWVHUYHVDVDVSULQJERDUGIRUDKDFNHUWKDWRSHQVXSDQXPEHURI

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           7KHSUREOHPVDVVRFLDWHGZLWKLGHQWLW\WKHIWDUHH[DFHUEDWHGE\WKHIDFWWKDWPDQ\

LGHQWLW\WKLHYHVZLOOZDLW\HDUVEHIRUHDWWHPSWLQJWRXVHWKHPHPEHULQIRUPDWLRQWKH\KDYH

REWDLQHG,QGHHGLQRUGHUWRSURWHFWLWVPHPEHULQIRUPDWLRQ%HVVHPHUZLOOQHHGWRUHPDLQ

YLJLODQWDJDLQVWXQDXWKRUL]HGXVHRILWVPHPEHULQIRUPDWLRQIRU\HDUVDQGGHFDGHVWRFRPH

     Fiserv Falsified and Misrepresented Bessemer’s Member and Transactional Records

           ,QDGGLWLRQWRIDLOLQJWRVDIHJXDUGFRQILGHQWLDOPHPEHULQIRUPDWLRQDJDLQVWDFFHVV

E\XQDXWKRUL]HGSDUWLHV)LVHUYKDVIDOVLILHGDQGPLVUHSRUWHGWKDWLQIRUPDWLRQWR%HVVHPHULWV

PHPEHUVDQGRWKHUDXWKRUL]HGLQGLYLGXDOV

           ,QRUDURXQG-XO\)LVHUYIDOVHO\UHSUHVHQWHGWR%HVVHPHUWKDWDPHPEHU¶V

DFFRXQWZDVFORVHG,QIDFWWKHPHPEHUGLGQRWFORVHWKHDFFRXQW)LVHUYDOVRPDGH

XQDXWKRUL]HGFKDQJHVWRWKHPHPEHU¶VDFFRXQWLQIRUPDWLRQZKLFKSUHYHQWHGGLYLGHQGVRZHGWR

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WKDWWKLVPHPEHUZDVRZHGQRGLYLGHQGVZKHQLQIDFWWKHPHPEHUZDVRZHGGLYLGHQGVIURP

%HVVHPHU%DVHGXSRQ)LVHUY¶VIDOVHUHSRUWLQJRILQIRUPDWLRQDQGXQDXWKRUL]HGFKDQJHVWR

DFFRXQWLQIRUPDWLRQWKLVPHPEHUZDVQRWWLPHO\SDLGGLYLGHQGVWKDWZHUHRZHGWRKLPDQGWKH

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EHKDOIRIIXQGVWKDWZHUHLQWHQGHGWREHSRVWHGWRWKDWPHPEHU¶VDFFRXQW)LVHUYKRZHYHU

IDLOHGWRUHSRUWWKLVWUDQVIHURQ%HVVHPHU¶V³H[FHSWLRQOLVW´ DOLVWWKDWFRQWDLQVLQFRPLQJ

WUDQVIHUVWKDWZHUHLQWHQGHGIRUFORVHGDFFRXQWV DQGLQVWHDGWUDQVIHUUHGWKHPHPEHU¶VIXQGVWR

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SURPLVVRU\QRWHVDQGORDQGLVFORVXUHV LQWR%HVVHPHU¶V/RDQFLHUJHDSSOLFDWLRQ7KLVFDXVHG

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      HQDEOHOHQGHUVWRXVHDVLQJOHSDUWQHUIRUWKHLURULJLQDWLRQDFFRXQWLQJDQGVHUYLFLQJQHHGV´
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GHSRVLWHGMXVWLQFDVKDQGQRFKHFNV

            )LVHUYKDVNQRZLQJO\PLVUHSUHVHQWHGGXHGDWHVIRUORDQV:KHQ%HVVHPHU

UHSRUWHGWKLVLVVXHWR)LVHUY)LVHUYH[SODLQHGWKDWZKHQDORDQLVHQWHUHGZLWKDGXHGDWHRQWKH

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GD\RIWKHPRQWKUHJDUGOHVVRIWKHORDQ¶VDFWXDOGXHGDWH)LVHUYFRQFHGHGWKDWWKLVIDOVH

UHSHDWLQJRILQIRUPDWLRQLVD³NQRZQLVVXH´ZLWKLWVDFFRXQWSURFHVVLQJV\VWHP<HWGHVSLWH

KDYLQJDFWXDONQRZOHGJHWKDWLWZDVVXSSO\LQJIDOVHLQIRUPDWLRQ)LVHUYFRQWLQXHGWRVXSSO\IDOVH

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UHIOHFWFRUUHFWFDVKRUFKHFNDGMXVWPHQWVIRUWHOOHUGUDZHUV)LVHUYDVVXUHGWKH&UHGLW8QLRQWKDW

WKLVLVVXHZRXOGEHFRUUHFWHGLQDIXWXUHVRIWZDUHXSGDWHUHOHDVHEXWWKHXSGDWHZDVFRQVLVWHQWO\

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           ,QRUDURXQG-XQH)LVHUYGHOHWHGWUDQVDFWLRQVWKDWVKRXOGKDYHEHHQSUHVHQW

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DFFRXQWWRWKHPHPEHU¶VKRPHHTXLW\ORDQ:KLOHWKHPHPEHU¶VVKDUHDFFRXQWKLVWRU\VKRZHG

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           :KHQ%HVVHPHUFRQWDFWHG)LVHUYDERXWWKHIDOVHLQIRUPDWLRQEHLQJUHSRUWHG

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)LVHUY¶VVRIWZDUHFDQQRWDFFRPPRGDWHWKHFRUUHFWDSSOLFDWLRQRIDFKHFNLQDVLQJOHWUDQVDFWLRQ

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WUDQVDFWLRQVHYHQWKRXJK%HVVHPHUUHFHLYHVRQO\RQHFKHFNEHFDXVH)LVHUY¶VVRIWZDUHFDQQRW

SURFHVVPXOWLSOHHQWULHVIRULQWHUHVWSULQFLSDODQGIHHVWRDORDQIURPDVLQJOHFKHFN:KHQWKH

&UHGLW8QLRQDVNHG)LVHUYDERXWWKHVHWUDQVDFWLRQV)LVHUYUHVSRQGHGWKDWLWZLOODOORFDWHRQO\

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KDQGOHGLQDSDUWLFXODUZD\)LVHUYGHFOLQHGWRFRUUHFWO\UHIOHFWWKHVHWUDQVDFWLRQVVWDWLQJWKDWLW

³KDVEHHQWKLVZD\IRU\HDUVDQGZRXOGUHTXLUHKRXUVRISURJUDPLQJFKDQJHVWKHSURJUDPPHU

VDLGWKLVZDVQRWJRLQJWRKDSSHQ´

         Fiserv’s Account Processing System Contained a Litany of Bugs and Defects

           )LVHUY¶VVHUYLFHVZHUHODGHQZLWKEXJVDQGGHIHFWV-RKQHWWH3UHGG\RI)LVHUY

DGPLWWHGLQDQHPDLOWR%HVVHPHU¶V&(2WKDWWKHUHZDVDQ³H[WUHPHQXPEHU´RISUREOHPVWKDW

)LVHUYZDVLQIOLFWLQJXSRQ%HVVHPHU

               ³Yes,we agree, Bessemer System FCU has experienced an extreme number of
               issues(YHU\RQHRQRXUWHDPLVDZDUHRIWKHVHLVVXHVDQGZHFRQWLQXHWRZRUNIRU
               UHVROXWLRQ«  , VLQFHUHO\ DSRORJL]H IRU WKH LQFRQYHQLHQFHV DQG LPSDFW WR \RXU
               EXVLQHVV´



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LQIRUPHG%HVVHPHUWKDWLWVV\VWHPVZHUHPDQLIHVWLQJWKHIROORZLQJHUURUV

                   D   7KH&UHGLW8QLRQ¶VGRFXPHQWDUFKLYHKRVWHGWKURXJK)LVHUY¶VH)LFKHQF\

V\VWHPH[SHULHQFHGDVHUYLFHLQWHUUXSWLRQ

                   E   /HVVWKDQRQHKRXUODWHU)LVHUY¶VH)LFKHQF\V\VWHPZDVH[SHULHQFLQJ

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                   F   0HPEHUVORJJLQJLQWR9LUWXDO%UDQFKZRXOGUHFHLYHDQ³DXWKHQWLFDWLRQ

HUURU´HUURUPHVVDJHZKHQDFFHVVLQJWKHLUH6WDWHPHQWVDQG

                   G   0HPEHUVXVLQJWKHVHDUFKRSWLRQLQ9LUWXDO%UDQFKZRXOGUHFHLYHDQ

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WUDQVDFWLRQVDQGWRIXQFWLRQDVDILQDQFLDOLQVWLWXWLRQ

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SURSHUO\PDGHLQDFFRUGDQFHZLWKWKHPHPEHUV¶LQVWUXFWLRQV)LVHUYFRQFHGHGWKDWWKLVLV

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           $&+DQGVKDUHGUDIWUHWXUQVIDLOHGWRSURFHVVGXULQJV\VWHPZLGHFRQQHFWLRQ

RXWDJHV)LVHUYLVVXHGDUHSRUWHDFKGD\DQGPLVUHSUHVHQWVWKDWUHWXUQVDUHLQSURJUHVV

$OWKRXJK%HVVHPHUEHOLHYHVWKDWWKHUHWXUQVZHUHSURFHVVHGDQGUHFHLYHGE\)LVHUYWKHIXQGV

IRUWKHUHWXUQHGLWHPVZHUHQRWUHFHLYHGE\WKH&UHGLW8QLRQDVH[SHFWHG,QVWHDG)LVHUY

VHHPLQJO\IDLOHGWRSUHVHQWWKHUHWXUQVWRWKH)HGHUDO5HVHUYHIRUFUHGLW7KHVHLVVXHV

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DGPLWWHGWKDWVLQFHLWKDVRXWVRXUFHGPXFKRILWVFDOOFHQWHUV¶SHUVRQQHO)LVHUY¶VVXSSRUW

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DVNLQJWRVHWXS2XWORRN7KHWHOOHUZDVXQDEOHWRORJEDFNRQWRWKHFRPSXWHU$OWKRXJK)LVHUY

SUHYLRXVO\LQVWUXFWHG%HVVHPHUHPSOR\HHVWRXVHWKHORJRIIEXWWRQH[FOXVLYHO\WRSUHYHQWORJ

RIISUREOHPV)LVHUYKDVVLQFHLQVWUXFWHG%HVVHPHUVWDIIPHPEHUVQHYHUWRXVHWKHORJRIIEXWWRQ

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6XQGD\DQGDYDULHW\RISRVVLEOHHTXLSPHQWUHODWHGLVVXHV)LVHUY¶VILQJHUSRLQWLQJDQG

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IRUREWDLQLQJXQQHHGHGJRRGVDQGVHUYLFHV(YHQWXDOO\)LVHUYFRQFHGHGWKDWWKHVHLVVXHVZHUH

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WKHVHHUURUVVRPHWUDQVDFWLRQVZHUHSURFHVVHGEXWDUHFHLSWRIWKHWUDQVDFWLRQZDVQRW

JHQHUDWHG2WKHUWLPHVWKHV\VWHPUHSRUWHGDIDLOHGWUDQVDFWLRQZKHQWKHWUDQVDFWLRQZDV

SURFHVVHG)LVHUYLQIRUPHG%HVVHPHUWKDWPXOWLSOHFUHGLWXQLRQVXVLQJGLIIHUHQW)LVHUYFRUH

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FRQWLQXLQJWRIUHH]HZKLFKUHVXOWVLQWHOOHUVDQGHPSOR\HHVEHLQJXQDEOHWRFRPSOHWHWKHLUWDVNV

DQGPHHWWKH&UHGLW8QLRQ¶VPHPEHUV¶QHHGVLQDWLPHO\PDQQHU

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RQ&RQILUP,7 )LVHUY¶VZHEVLWHWKDWZDVVXSSRVHGWREHDYDLODEOH WKH&UHGLW8QLRQUHSHDWHGO\

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LQDGHTXDWHDQG)LVHUYZDVWKHRQO\RQHLQSRVVHVVLRQRIWKDWPDWHULDOLQIRUPDWLRQZKLFKLWKDG

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REOLJDWHGWRDQGKDGDGXW\WRGLVFORVH)LVHUYKDGH[FOXVLYHNQRZOHGJHRIXQGLVFORVHG

PDWHULDOIDFWVQDPHO\WKDW%HVVHPHU¶VPHPEHULQIRUPDWLRQLQ)LVHUY¶VFXVWRG\ZDVXQVHFXUH

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%HVVHPHU$GGLWLRQDOO\)LVHUYPDGHQXPHURXVUHSUHVHQWDWLRQVIROORZLQJWKHSULRUGDWDVHFXULW\

YXOQHUDELOLWLHVWRDVVXUHLWVFXVWRPHUVWKDWWKHLUPHPEHULQIRUPDWLRQDQGRWKHUGDWDZDVVDIHDQG

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KDYHVKXWGRZQWKHVHUYLFHV%HVVHPHUZDVXVLQJDQGUHWXUQHG%HVVHPHU¶VPHPEHULQIRUPDWLRQ

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DGHTXDWHPHDVXUHVWRSURWHFWWKHFRQILGHQWLDOLW\DQGLQWHJULW\RI%HVVHPHU¶VPHPEHU

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%HVVHPHUWKDWLWVVHUYLFHVZHUHXQVDIHDQGWKDWPHPEHULQIRUPDWLRQZDVH[SRVHGWRWKHIWDQG

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                   H   )LVHUYKDVFRQWLQXHGWRLQYRLFH%HVVHPHUIRUVHUYLFHVDIWHU%HVVHPHU

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                   J   ,WHPVWKDW)LVHUYKDGDJUHHGWRSURYLGHZLWKRXWFRVWDSSHDURQELOOVLQDQ

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8QLRQIRULWHPVWKDW)LVHUYDJUHHGWRSD\IRULQFOXGLQJHTXLSPHQWDQGWUDYHOH[SHQVHVUHODWHGWR

DWWHPSWVWRDGGUHVVFRQQHFWLYLW\LVVXHV$GGLWLRQDOO\)LVHUYVHQWWKH&UHGLW8QLRQDODUJHELOO

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ZLWKGUDZDOVZKLFKVKRXOGKDYHEHHQLQYRLFHGPRQWKVHDUOLHU7KHDPRXQWVIRUWKHVH

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SXUFKDVLQJDQGLQVWDOOLQJQHZ&$7FDEOHVIRUDOOZRUNVWDWLRQVZRXOGSURYLGHUHOLHIIRUVRPH

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OLWWOHQRWLFHDQGWKHSURJUDPKDVEHHQULGGOHGZLWKEXJVDQGGHIHFWV7KH&UHGLW8QLRQZLVKHG

WRVWD\ZLWK/RDQ$GYDQWDJHIRULWVORDQSURFHVVLQJEXW)LVHUYLQGLFDWHGWKDWLWZDVQRWZLOOLQJ

WRLQYHVWLQWKHSURJUDPPLQJFKDQJHVQHFHVVDU\WRFRUUHFWFDOFXODWLRQSUREOHPVWKDWKDGEHHQ

QRWLFHGLQ/RDQ$GYDQWDJH)LVHUYUHIXVHGWRVXSSRUWWKDWVRIWZDUHDQGLQVLVWHGWKDWWKH&UHGLW

8QLRQSD\WKRXVDQGVRIGROODUVLQLPSOHPHQWDWLRQIHHVIRUFRQWLQXHGYLDEOHXVHRIWKLV

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GHIHFWVDIIHFWLQJ%HVVHPHU¶VRSHUDWLRQV,QSDUWLFXODUWKHIUHH]LQJRIWKHVRIWZDUHVHHPHGWR

EHFRPHPRUHSURPLQHQWZKHQ%HVVHPHUZDVKDQGOLQJDQLQFUHDVHGQXPEHURIWUDQVDFWLRQV

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EDODQFHUHSRUWLQJWKURXJKWKH0DVWHU&DUGGHELWQHWZRUNDQG)LVHUYUHVSRQGHGWKDWWKLVXSGDWH

ZRXOGEH³VLPSOH´DQGZRXOGUHTXLUHDRQHWLPHFKDUJHRIRQO\WRPDNHQHJDWLYHEDODQFHV

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LQGLYLGXDOVDQGHQWLWLHV6LQFHDWOHDVWWKHELZHHNO\VFDQVKDGEHHQDXWRPDWLFDQG

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UHSUHVHQWHGWR%HVVHPHUWKDW)LVHUYZRXOGSURYLGHWKLVIXQFWLRQDOLW\DQGLWKDVFRQWLQXHGWR

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VXSSRUWUHTXHVWVZLWKRXWUHVROYLQJWKHPRULWKDVIDOVHO\PLVFKDUDFWHUL]HGLVVXHVUHSRUWHGWR

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                    Fiserv Failed to Properly Respond to Bessemer’s Claims

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PHDVXUHVWDNHQE\)LVHUYWRDVVHVVZKHWKHULWVLQIRUPDWLRQVHFXULW\SURJUDPPHHWVWKH>0DVWHU

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KDYHDSSHDUHGRQ)LVHUYLQYRLFHVDQG)LVHUYKDVSUHYLRXVO\FRPSURPLVHGWKHVHFXULW\RI

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DJHQF\ODFNVDXWKRULW\RYHUDFUHGLWXQLRQ¶VYHQGRUVDQGFRXQWVRQFUHGLWXQLRQVWRDXGLWDQG

RYHUVHHWKHLUYHQGRUUHODWLRQVKLSV7KXVWKH1&8$FRXQWVRQFUHGLWXQLRQVWRSROLFHWKHLUWKLUG

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0DVWHU$JUHHPHQWGLGQRWSDUWLFLSDWHLQWKLVSURFHVVDVUHTXLUHGE\WKH0DVWHU$JUHHPHQW

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UHOHYDQWHYHQWVDQGDSSHDUHGWRODFNWKHVXIILFLHQWDXWKRULW\WRELQG)LVHUYWRDQ\JRRGIDLWK

UHVROXWLRQRI%HVVHPHU¶VFODLPVDVUHTXLUHGE\WKH0DVWHU$JUHHPHQW7KDWLQGLYLGXDOGLGQRW

PDNHDVXIILFLHQWHIIRUWWRUHVROYHWKHGLVSXWHQRUGLGKHGRVRZLWKLQWKHGD\GHDGOLQHDV

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UHTXLUHDQDGGLWLRQDOWZRZHHNWLPHIUDPHIRUD³QH[WGLVFXVVLRQ´LQDGYDQFHRIDUULYLQJDWD

VDWLVIDFWRU\UHVROXWLRQ7RGDWHWKDWSURSRVHGWLPHKDVHODSVHGDQGDVDWLVIDFWRU\UHVROXWLRQKDV

VWLOOQRWEHHQSURYLGHG)LVHUYKDVIXUWKHUIDLOHGWRWDNHDSSURSULDWHDFWLRQVLQFOXGLQJPDNLQJ

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DWUXHDQGFRUUHFWFRS\RI%HVVHPHU¶VQRWLFHRIWHUPLQDWLRQ%HVVHPHUGHPDQGHGWKDW)LVHUY

UHWXUQ%HVVHPHU¶VILOHVDQGLQIRUPDWLRQLQDUHDVRQDEOHFRPPHUFLDOO\XVDEOHIRUPDQGWKDW

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VZLWFKLQJYHQGRUV([KLELWKHUHWRLVDWUXHDQGFRUUHFWFRS\RI%HVVHPHU¶VGLVSXWHOHWWHU

FRQFHUQLQJDSRVWWHUPLQDWLRQLQYRLFH)LVHUYLVVXHGWR%HVVHPHU

         ,QWKLVGLVSXWHOHWWHU%HVVHPHUUHTXHVWHGWKDW)LVHUYSURYLGHDXGLWUHFRUGV

VXEVWDQWLDWLQJLWVLQYRLFHV

         )LVHUYDJDLQZDVQRQUHVSRQVLYHWR%HVVHPHU¶VDXGLWGHPDQGV$FFRUGLQJO\RQ

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VXEVWDQWLDWHZLWKVXSSRUWLQJGRFXPHQWDWLRQ([KLELWKHUHWRLVDFRS\RIWKLVFRUUHVSRQGHQFH

         )LVHUYFRQWLQXHGWRGHOD\UHVSRQGLQJWRWKH&UHGLW8QLRQ¶VDXGLWGHPDQGV

SHUWDLQLQJWR)LVHUY¶VLQYRLFHVIRUWKHILUVWWLPHRQ6HSWHPEHUEXW)LVHUY¶VUHVSRQVH

ZDVDQLQFRPSOHWHSHUIXQFWRU\VXPPDU\DQGFRQWULYHGE\)LVHUYIRUOLWLJDWLRQSXUSRVHV

([KLELWKHUHWRLVDFRS\RI)LVHUY¶VUHVSRQVHZLWKDWWDFKPHQWVRPLWWHG1RWDEO\)LVHUY

FRQWLQXHGWRUHIXVHWRSURYLGHDQ\DXGLWGRFXPHQWDWLRQFRQFHUQLQJLWVVHFXULW\SUDFWLFHV

         %HVVHPHUUHVSRQGHGE\LQGLFDWLQJQXPHURXVGHILFLHQFLHVLQ)LVHUY¶VLQYRLFHDXGLW

GRFXPHQWDWLRQDQGUHTXHVWLQJWKDW)LVHUYSURYLGHVXIILFLHQWDXGLWGRFXPHQWDWLRQLQFOXGLQJ

DFFXUDWHFRSLHVRIWKHGRFXPHQWV)LVHUYUHIHUUHGWRLQLWV6HSWHPEHUVXPPDU\

([KLELWKHUHWRLVDFRS\RIWKLVFRUUHVSRQGHQFH

         )LVHUYUHVSRQGHGODWHUWKDWGD\UHIXVLQJWRSURYLGHWKHUHTXHVWHGDXGLWUHFRUGV

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UHTXHVWHGLQIRUPDWLRQZKLOHNHHSLQJ%HVVHPHU¶VPHPEHULQIRUPDWLRQKRVWDJHLQDQLQVHFXUH

HQYLURQPHQWYXOQHUDEOHWRVHFXULW\ULVNV%HVVHPHUFRPPHQFHGDUHSOHYLQDFWLRQLQWKH&RXUWRI




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        %HVVHPHUDQG)LVHUYDJUHHGWRVHWWOHWKHUHSOHYLQDFWLRQLQDFFRUGDQFHZLWKDQ

2FWREHUOHWWHUDJUHHPHQWSUHSDUHGE\)LVHUY¶VFRXQVHOWKH ³5HSOHYLQ$FWLRQ

6HWWOHPHQW$JUHHPHQW´ ZKLFKZDVVXEVHTXHQWO\H[HFXWHGE\%HVVHPHU([KLELWKHUHWRLV

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                L    %HVVHPHUDJUHHGWRZLWKGUDZLWVUHSOHYLQDFWLRQZLWKRXWSUHMXGLFH
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              LL   7KHSDUWLHVZRXOGZRUNLQJRRGIDLWKWRQHJRWLDWHDJOREDOUHVROXWLRQRI
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               LLL  )LVHUYZRXOGSDUWLFLSDWHLQD³GHFRQYHUVLRQ´RI%HVVHPHU¶VUHFRUGVWR
%HVVHPHU¶VVXFFHVVRUYHQGRUZLWK)LVHUYUHSUHVHQWLQJWKDW³JLYHQWKHOHDGWLPHUHTXLUHG
GHFRQYHUVLRQLVQRWOLNHO\WRKDSSHQXQWLOQHDUWKH-XQHH[SLUDWLRQRIWKH0DVWHU
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DQGWKDWVXFKDPRXQWVEHSDLGEHIRUHWKHDJUHHGXSRQGHFRQYHUVLRQGDWH´

                 Y     %HVVHPHUDJUHHGWRUHPLWSD\PHQWIRURXWVWDQGLQJLQYRLFHV VXEMHFWRI
FRXUVHWRWKHUHVHUYDWLRQRIULJKWVWKDWGLVPLVVLQJWKHUHSOHYLQDFWLRQ³ZRXOGQRWDIIHFW
%HVVHPHU¶VRWKHUSHQGLQJDFWLRQ´ZKLFKVRXJKWDPRQJRWKHUWKLQJVUHIXQGVRIRYHUSD\PHQWV
PDGHWR)LVHUYIRUVHUYLFHVGHILFLHQWO\SHUIRUPHG 

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VHFXULW\DQGRWKHUSUREOHPVDW)LVHUY+RZHYHUWKHRQO\UHDVRQ%HVVHPHUDJUHHGWRZDLWXQWLO

QHDUO\-XQHWRHIIHFWWKHGHFRQYHUVLRQZDVEDVHGXSRQ)LVHUY¶VUHSUHVHQWDWLRQLQWKH

5HSOHYLQ$FWLRQ6HWWOHPHQW$JUHHPHQWWKDWVXFKDQH[SDQVLYHWLPHIUDPHZDVQHFHVVDU\³JLYHQ

WKHOHDGWLPHUHTXLUHG´,WZDV%HVVHPHU¶VXQGHUVWDQGLQJEDVHGRQ)LVHUY¶VUHSUHVHQWDWLRQVWKDW

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           )LVHUYLWVHOIDFNQRZOHGJHGKRZHVVHQWLDOWKHUHFRUGVLWPDLQWDLQVDUHWRILQDQFLDO

LQVWLWXWLRQV¶OHJDOFRPSOLDQFH,QLWV6(&)RUP.)LVHUYDFNQRZOHGJHGWKDWLWVDFFRXQW

SURFHVVLQJ³VROXWLRQVDOVRLQFOXGHH[WHQVLYHVHFXULW\UHSRUWJHQHUDWLRQDQGRWKHUIHDWXUHVWKDW

ILQDQFLDOLQVWLWXWLRQVQHHGWRSURFHVVWUDQVDFWLRQVIRUWKHLUFXVWRPHUVDVZHOODVWRFRPSO\ZLWK

DSSOLFDEOHUHJXODWLRQV´([KLELWKHUHWRLVDWUXHDQGFRUUHFWFRS\RIDQH[FHUSWIURP)LVHUY¶V

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           $VUHTXLUHGE\WKH5HSOHYLQ$FWLRQ6HWWOHPHQW$JUHHPHQW%HVVHPHULVVXHG

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           )LVHUYKRZHYHUUHMHFWHG%HVVHPHU¶VFKHFNDQGUHWXUQHGLWWR%HVVHPHU

           %HVVHPHUVHQWWKHFKHFNDJDLQWR)LVHUYQRZWRWKHDWWHQWLRQRI)LVHUY¶VRXWVLGH

FRXQVHO7KDWFKHFNKRZHYHUZDVNHSWZLWKRXWEHLQJGHSRVLWHG3HUDQRWDWLRQRQWKHIURQWRI

WKHFKHFNWKHFKHFNEHFRPHVYRLGVL[W\GD\VDIWHULVVXDQFHDQGSHUVWDQGDUGFUHGLWXQLRQ

RSHUDWLQJSUDFWLFHVSD\PHQWRQLWZRXOGEHVWRSSHGDWWKDWWLPH

           $VDUHVXOW%HVVHPHULVVXHGDQRWKHUFKHFNWR)LVHUYWRSD\WKHRXWVWDQGLQJ

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           2Q'HFHPEHU)LVHUY¶VFRXQVHOVHQW%HVVHPHU¶VFRXQVHODQHPDLOZLWK

³GHFRQYHUVLRQPDWHULDOV´7KHHPDLOQRWHGWKDW³7KHPDWHULDOLWHPVDUHDQDPHQGPHQWWRWKH

0DVWHU$JUHHPHQWWKDWSURYLGHVIRUGHFRQYHUVLRQDQGVHWVWKHGHFRQYHUVLRQGDWHDQGDVXPPDU\

RI)LVHUY¶VVWDQGDUGGHFRQYHUVLRQFKDUJHVDQGUHODWHGSD\PHQWVZKLFKDUHWREHSDLGDWWKHWLPH

RIH[HFXWLRQRIWKHDPHQGPHQW´([KLELWKHUHWRLVDWUXHDQGFRUUHFWFRS\RIWKLVHPDLO

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1RYHPEHUIURP5LFKDUG5H\QROGVRI)LVHUY$FFRUGLQJWR)LVHUY¶VOHWWHU)LVHUYVWDWHG

WKDWDQDGYDQFHSD\PHQW³LVUHTXLUHGSULRUWRWKHFUHDWLRQRIGDWDILOHVRUGHFRQYHUVLRQUHSRUWV

7KLVSD\PHQWUHSUHVHQWVWKHHVWLPDWHGWRWDOGHFRQYHUVLRQFKDUJHVIRUDOO)LVHUYSURYLGHG

VHUYLFHVDVZHOODVDQHVWLPDWHRI\RXUILQDOWZRPRQWK¶VSURFHVVLQJFKDUJHVSOXVRQH  PRQWK

RIDFFHVVWRWKH)LVHUYV\VWHPSRVWGHFRQYHUVLRQ$Q\IXQGVUHPDLQLQJIURPWKHVHDGYDQFH

SD\PHQWVZLOOEHUHWXUQHGWR\RXDIWHUWKHILQDOUHFRQFLOLDWLRQRIDOOGHFRQYHUVLRQUHODWHGFKDUJHV

KDYHRFFXUUHG´([KLELWKHUHWRLVDWUXHDQGFRUUHFWFRS\RIWKLVOHWWHU

           7KH5HSOHYLQ$FWLRQ6HWWOHPHQW$JUHHPHQWGLGQRWUHTXLUH%HVVHPHUWRSD\WKH

IHHVDQGH[SHQVHVRIGHFRQYHUVLRQXQWLO³EHIRUHWKHDJUHHGXSRQGHFRQYHUVLRQGDWH´ LHQHDU

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UHSXGLDWHGWKH5HSOHYLQ$FWLRQ6HWWOHPHQW$JUHHPHQW)LVHUY¶VOHWWHUDQGHPDLOIURPLWVFRXQVHO

LQGLFDWHGWKDW)LVHUYZDVUHIXVLQJWRWDNHVWHSVUHTXLUHGWRFRPSOHWHWKHGHFRQYHUVLRQXQOHVV

%HVVHPHUPDGHDQDGYDQFHGHSRVLWRIPRQH\RIFHUWDLQHVWLPDWHG³FKDUJHV´1RWRQO\ZHUH

WKHVHFKDUJHVQRWFRQWDLQHGLQWKH5HSOHYLQ$FWLRQ6HWWOHPHQW$JUHHPHQW%HVVHPHU¶VGHDGOLQH

WRSD\DQ\IHHVDQGH[SHQVHVRIGHFRQYHUVLRQZDVQRW\HWGXHIRUDWOHDVWDQRWKHUVL[PRQWKV

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           $QRWKHUDWWDFKPHQWWR)LVHUY¶V'HFHPEHUHPDLOZDVDSXUSRUWHG

³$PHQGPHQWWR$JUHHPHQW´WRDPHQGWKH0DVWHU$JUHHPHQWWRLQFOXGHWKHGHFRQYHUVLRQ

VHUYLFHV)LVHUY¶VSURSRVHGDPHQGPHQWSXUSRUWHGWRREOLJDWH%HVVHPHUWRSD\YDULRXVIHHVSULRU

WR)LVHUYSURYLGLQJGHFRQYHUVLRQVHUYLFHVDQGLWFODLPHGWKDWWKH0DVWHU$JUHHPHQW³VKDOO

UHPDLQLQIXOOIRUFHDQGHIIHFW´([KLELWKHUHWRLVDWUXHDQGFRUUHFWFRS\RI)LVHUY¶V

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%HVVHPHU¶VGHFRQYHUVLRQXQGHUWKHWHUPVFRQWDLQHGLQWKH5HSOHYLQ$FWLRQ6HWWOHPHQW

$JUHHPHQW)XUWKHUDVWKH0DVWHU$JUHHPHQWZDVSUHYLRXVO\WHUPLQDWHGWKHUHZDVQREDVLVIRU

WKDWDJUHHPHQWWREHDPHQGHG DQGWKHUHE\UDWLILHG E\%HVVHPHU

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VWDQGDUGGHFRQYHUVLRQIHHIRUFUHGLWXQLRQVRI%HVVHPHU¶VVL]HZDVDFHUWDLQDPRXQWZKHQ)LVHUY

LVVXHGLWVSURSRVHG³$PHQGPHQWWR$JUHHPHQW´RQ'HFHPEHU²EXWWKDWLQMXVWWKHVSDQ

RIWZRZHHNVWKDWIHHZDVQRZLQFUHDVHGE\%XW)LVHUYZRXOG³LIWKLVLVUHVROYHG

QRZ«DELGHE\WKHIHHVFKHGXOHLWSURYLGHG)LVHUYLVD)RUWXQH&RPSDQ\ZLWKDURXQG

ELOOLRQLQDQQXDOUHYHQXH<RXUVXJJHVWLRQWKDWLWLVµPDNLQJXS¶D«IHHKHUHPDNHVQRVHQVH´

([KLELWKHUHWRLVDWUXHDQGFRUUHFWFRS\RIWKLVHPDLOFKDLQ)LVHUYKRZHYHUKDGQR

H[SODQDWLRQIRUWKHEDVLVRIKRZLWFDOFXODWHGWKLVIHHDQGLQDJUHHLQJWRWKH5HSOHYLQ$FWLRQ

6HWWOHPHQW$JUHHPHQW%HVVHPHUFHUWDLQO\GLGQRWDJUHHWRSD\D³VWDQGDUG´IHHQRWUHIHUHQFHG

LQWKDWDJUHHPHQWOHWDORQHRQHWKDWZRXOGLQFUHDVHE\LQWKHFRXUVHRIMXVWWZRZHHNV

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KRVWDJHDVDEDUJDLQLQJFKLSDQGWRSUHYHQW%HVVHPHUIURPXVLQJRWKHUYHQGRUV%HVVHPHU

FRQWLQXHGUHIXVLQJWRDJUHHWRWKHDGGLWLRQDODQGGLIIHUHQWWHUPVWKDW)LVHUYZDVDWWHPSWLQJWR

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KDVGHWHUPLQHGWKDWLWVLPPHGLDWHSULRULW\LVWRFRPSOHWHWKHSDUWLHV¶VHSDUDWLRQDVVRRQDV

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IURPDWOHDVW1RYHPEHUWRRQRUDURXQG0DUFK)LVHUYGLGQRWWDNHVWHSV

QHFHVVDU\WRIDFLOLWDWHWKHSDUWLHV¶GHFRQYHUVLRQ)LVHUYGHOD\HGWKHGHFRQYHUVLRQSURFHVVIRU

RYHUWKUHHPRQWKVLQDQHIIRUWWRNHHS%HVVHPHU¶VGDWDKRVWDJHDQGWRH[WUDFWDGGLWLRQDOPRQH\

IURP%HVVHPHUDQGDWWHPSWWRKDYHLWUDWLI\WKHDOUHDG\WHUPLQDWHG0DVWHU$JUHHPHQW

         )LVHUY¶VLPSURSHUFHVVDWLRQRIZRUNIRUWKLVSHULRGRIWLPHHVWDEOLVKHVWKDWLWV

UHSUHVHQWDWLRQLQWKH5HSOHYLQ$FWLRQ6HWWOHPHQW$JUHHPHQWWKDW³JLYHQWKHOHDGWLPHUHTXLUHG

GHFRQYHUVLRQLVQRWOLNHO\WRKDSSHQXQWLOQHDUWKH-XQHH[SLUDWLRQRIWKH0DVWHU

$JUHHPHQW´LVXQWUXH:KHQH[HFXWLQJWKH5HSOHYLQ$FWLRQ6HWWOHPHQW$JUHHPHQWLWZDV

XQGHUVWRRGWKDW)LVHUYUHTXLUHGVXFKDOHDGWLPHIRUWHFKQLFDOUHDVRQV²QRWIRULPSURSHUO\

FHDVLQJZRUNIRUVHYHUDOPRQWKVLQDQDWWHPSWWRUHQHJRWLDWHWKHGHDOWKHSDUWLHVDJUHHGWRZKHQ

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FRQGLWLRQLQJ)LVHUY¶VSHUIRUPDQFHXQGHUWKDWDJUHHPHQWRQ%HVVHPHU¶VDVVHQWWRDGGLWLRQDODQG

GLIIHUHQWWHUPV)RUH[DPSOH)LVHUYLQVLVWHGWKDW%HVVHPHUPDNHDQDGYDQFHGHSRVLWRIFHUWDLQ

IHHVDQGFKDUJHVEHIRUHWKHGHDGOLQHFRQWDLQHGLQWKH5HSOHYLQ$FWLRQ6HWWOHPHQW$JUHHPHQWIRU

%HVVHPHUWRSD\WKHPWKHQ)LVHUYVWRSSHGZRUNRQWKHGHFRQYHUVLRQDQGUHIXVHGWRSURYLGH

%HVVHPHU¶VVXFFHVVRUYHQGRUDWHVWILOHZKLOHLQVLVWLQJWKDW%HVVHPHUSD\D³GHFRQYHUVLRQ




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UHWUHDWHGRQVRPHRILWVGHPDQGVDQGDJUHHGWRUHFRPPHQFHWKHGHFRQYHUVLRQ+RZHYHUEXWIRU

)LVHUY¶VGXSOLFLW\DQGLOOHJLWLPDWHFHVVDWLRQRIZRUNZKLOHWU\LQJWRH[WUDFWDGGLWLRQDOPRQH\

IURP%HVVHPHU%HVVHPHUZRXOGKDYHDFKLHYHGDQHDUOLHUGHFRQYHUVLRQWRDVXSHULRUYHQGRU

)LVHUY¶VUHSUHVHQWDWLRQLQWKH5HSOHYLQ$FWLRQ6HWWOHPHQW$JUHHPHQWWKDW³JLYHQWKHOHDGWLPH

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0DVWHU$JUHHPHQW´LVIDOVH5DWKHU)LVHUYPLVUHSUHVHQWHGWKHQHHGIRUVXFKDQH[SDQVLYHOHDG

WLPHLQDQDWWHPSWWRKDYHWLPHWRUHQHJRWLDWHWKHWHUPVRIWKHVHWWOHPHQWZKLOHKROGLQJ

%HVVHPHU¶VGDWDKRVWDJHDVDEDUJDLQLQJFKLSDQGWRIRUFH%HVVHPHUWRFRQWLQXHXVLQJ)LVHUY

)LVHUYPDGHWKHVHPLVUHSUHVHQWDWLRQVWRIDOVHO\LQGXFH%HVVHPHULQWRDFFHSWLQJDVHWWOHPHQW

DJUHHPHQWDQGGLVPLVVLQJWKHUHSOHYLQDFWLRQILOHGLQWKH&RXUWRI&RPPRQ3OHDVRI0HUFHU

&RXQW\DQG%HVVHPHUMXVWLILDEO\UHOLHGRQ)LVHUY¶VPLVUHSUHVHQWDWLRQVZKHQGHFLGLQJZKHWKHUWR

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        $VSDUWRI%HVVHPHU¶VGHFRQYHUVLRQIURP)LVHUY)LVHUYUHIXVHGWRSURYLGHFUHGLW

UHSRUWLQJUHFRUGVFRQWDLQLQJ%HVVHPHUPHPEHUV¶ORDQKLVWRULHVUHSRUWHGWRDFUHGLWEXUHDX

5DWKHUWKDQSURYLGLQJWKHVHILOHV)LVHUYSURSRVHGFRGLQJPHPEHUV¶ORDQVZLWKDQ³$7´

GHVLJQDWLRQ6XFKDFRGLQJZRXOGUHIOHFWRQDPHPEHU¶VFUHGLWUHSRUWWKDWWKHORDQZDV

WUDQVIHUUHGSRWHQWLDOO\RSHQLQJXSDQHZHQWU\RQDPHPEHU¶VFUHGLWUHSRUW7KLVKRZHYHUZDV

XQDFFHSWDEOHWR%HVVHPHUEHFDXVHLWZRXOGPLVGHVFULEHWKHVWDWXVRIWKHORDQDQGUHVXOWLQ

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OLJKWRI)LVHUY¶VVHFXULW\SUREOHPV%HVVHPHUUHFHQWO\XUJHGLWVPHPEHUVWRFDUHIXOO\PRQLWRU

WKHLUFUHGLWUHSRUWVLQRUGHUWRGHWHFWSRWHQWLDOVXVSLFLRXVDFWLYLW\

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DUHXQDEOHWRJLYH\RXDILOHIRU\RXUFUHGLWEXUHDXUHSRUWLQJZHFDQLI\RXDXWKRUL]HXVWR

UHSRUW\RXUORDQVZLWKWKHFRGHV$7ZKLFKLVZKDWZHKDYHGRQHLQWKHSDVWZLWK>%HVVHPHU¶V

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KRZHYHUDGYLVHG%HVVHPHUWKDWLWZRXOGKDYHWRREWDLQWKHUHFRUGVIURP)LVHUY([KLELW

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([SHULDQRQRXUEHKDOIVLQFHLWZDVLQLWLDOO\WUDQVPLWWHGE\)LVHUY,WLVFULWLFDOWKDWWKLV

LQIRUPDWLRQEHSURYLGHGWRXVLPPHGLDWHO\IROORZLQJLWVILQDOWUDQVPLVVLRQWR([SHULDQ$JDLQ

WKLVLVDQLPSRUWDQWSDUWRIRXUPHPEHUGDWDDQGSDUWRIWKHGDWDWKDWZDVQHJRWLDWHGLQWKHOHWWHU

DJUHHPHQWLQ2FWREHU´([KLELWKHUHWRLVDWUXHDQGFRUUHFWFRS\RIWKLVHPDLOFKDLQ

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DPVRUU\EXWZHGRQRWKDYHSUHYLRXVILOHVWRSURYLGHWR>%HVVHPHU¶VVXFFHVVRUYHQGRU@:HFDQ

SURYLGHWKHFXUUHQWILOHDIWHULWLVFUHDWHGLQ-XQHDQGVHQWWRWKHEXUHDX:HFDQHLWKHUUHSRUWWKH

ORDQVDVZHDUHFXUUHQWO\UHSRUWLQJWKHPRUFRGHWKHPZLWK$7´ See id. 

         %HVVHPHUUHVSRQGHGWR)LVHUYRQ0D\VD\LQJLQSDUW³>W@KHVHILOHV

FRQWDLQVRPXFKSHUVRQDOPHPEHUGDWD,FULQJHWRWKLQNZKDWZRXOGKDSSHQHGLIWKH\ZHUHQRW

PDLQWDLQHGDQGGHVWUR\HGDFFRUGLQJWRUHJXODWLRQV´ See id. 




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EXUHDXILOHVVXEPLWWHGRQEHKDOIRI\RXUFUHGLWXQLRQDUHFRPLQJOHGZLWKRWKHUFUHGLWXQLRQGDWD

$IWHUSURFHVVLQJWKHILOHVDUHDUFKLYHG:HGRQRWKDYHWKHDELOLW\WRSURYLGH\RXDQLQGLYLGXDO

ILOHZLWKMXVW\RXUGDWD2XURQO\RSWLRQDWWKLVSRLQWLVWRSURFHVV\RXUODVWEXUHDXILOHZLWK

$7´ See id. 

        $IWHUILUVWFODLPLQJWKDWWKHVHUHFRUGVFRXOGQRWEHIXUQLVKHG)LVHUYVXEVHTXHQWO\

DGYLVHG%HVVHPHUWKDW³>S@URYLGLQJ\RXDVLQJOHILOHZLWK\RXUFUHGLWEXUHDXGDWDZLOOUHTXLUH

FXVWRPSURJUDPPLQJ2XUVWDQGDUGGHFRQYHULVRQSURFHVVLVWRSURYLGHDVWDWXVRI$7>LH

GHVLJQDWLQJWKHORDQDVWUDQVIHUUHG@6KRXOG\RXZDQWXVWRVHSDUDWHWKHGDWDDQGSURYLGH\RX

ZLWKWKHLQIRUPDWLRQDVRXWOLQHGEHORZZHZLOOQHHGWRVFRSHWKHZRUNDQGWKHQSURYLGH\RXD

TXRWHIRUWKLVHIIRUW´ See id. $IWHUIDOVHO\FODLPLQJWKDWWKHVHUHFRUGVFRXOGQRWEHIXUQLVKHG

)LVHUYXOWLPDWHO\SURYLGHGWKHPWRWKHFUHGLWXQLRQ

                        Fiserv Withholds Bessemer’s Archived Documents

        $OWKRXJKWKH\ZHUHUHTXLUHGWREHSURYLGHGDVSDUWRIWKHGHFRQYHUVLRQ)LVHUY

UHIXVHGWRSURYLGH%HVVHPHUZLWKGRFXPHQWVVWRUHGLQ)LVHUY¶V³H)LFKHQF\´DUFKLYH

        7KHH)LFKHQF\DUFKLYHKRXVHVLPSRUWDQWUHFRUGVRI%HVVHPHUVXFKDVWD[IRUPV

DQGSDVWPHPEHUVWDWHPHQWV'RFXPHQWVIURPWKHH)LFKHQF\DUFKLYHDUHPDGHDYDLODEOHWR

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        $OWKRXJKWKH5HSOHYLQ$FWLRQ6HWWOHPHQW$JUHHPHQWVHWIRUWKDWLPHIUDPHIRU

WKHGHFRQYHUVLRQRI%HVVHPHU¶VUHFRUGVRQ0D\6KDXQ*HKPDQRI)LVHUYHPDLOHG

%HVVHPHUVWDWLQJWKDW³()LFKHQF\GHFRQYHUVLRQGDWDLVW\SLFDOO\UHDG\WREHVKLSSHGZHHNV

DIWHUWKHGHFRQYHUVLRQGDWH´([KLELWKHUHWRLVDWUXHDQGFRUUHFWFRS\RIWKLVHPDLOFKDLQ




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         7KHUHDIWHU)LVHUYFODLPHGWRSURGXFHGRFXPHQWVLQ%HVVHPHU¶VH)LFKHQF\

DUFKLYHYLDDKDUGGULYHVHQWWR%HVVHPHUWKDWDSSHDUHGWREHVHFXUHGZLWKDSURSULHWDU\RQ

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GHFU\SWWKHGRFXPHQWVDQGUHWULHYHWKHGRFXPHQWVIURPWKHKDUGGULYH,QGHHGWKHLQVWUXFWLRQ

PDQXDOSURYLGHGE\)LVHUYWR%HVVHPHUGRHVQRWHYHQFRUUHVSRQGZLWKWKHW\SHRIGULYHWKDW

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         %HVVHPHUILOHGDPRWLRQIRUDWHPSRUDU\UHVWUDLQLQJRUGHUDQGSUHOLPLQDU\

LQMXQFWLRQLQRUGHUWRHIIHFWXDWHWKHGHFRQYHUVLRQ

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LQGLVSXWDEO\VHQWWKHUHFRUGV´DQG³>D@Q\FODLPWKDW>G@HIHQGDQWVDUHµGHQ\LQJDFFHVV¶WRWKLVGDWD

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         $WDKHDULQJRQWKLVPRWLRQ)LVHUYDJUHHGWRSURYLGH%HVVHPHUZLWKWKHSDVVZRUG

DQGWHFKQLFDODVVLVWDQFHQHFHVVDU\WRDFFHVVLQIRUPDWLRQRQWKHKDUGGULYHDWLVVXHDQGWRWDNH

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%HVVHPHU¶VPRWLRQ)LVHUYFRQFHDOHGIURPWKH&RXUWWKDWLWZDVLQIDFWZLWKKROGLQJIURP

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GLGQRWVXUIDFHXQWLODIWHUWKHKHDULQJRQWKHWHPSRUDU\UHVWUDLQLQJRUGHUZKHQ)LVHUYSURYLGHG

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RIWKHDFWXDOGRFXPHQWVLQEDWFKIRUPZDVQRWSRVVLEOHDVSDUWRIWKHGHFRQYHUVLRQZLWKRXW

LQYHVWLQJKXQGUHGVRUWKRXVDQGVRIKRXUVRIODERU

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WKDWDOORZVDUFKLYHGGRFXPHQWVWR³EHH[SRUWHGLQWRYDULRXVDSSOLFDWLRQVLQDPDWWHURIGD\V´

SeeKWWSVZZZILVHUYFRPHQLQGXVWULHVFUHGLWXQLRQVDFFRXQWSURFHVVLQJSODWIRUPVHILFKHQF\

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          Punitive Damages and Injunctive Relief Are Required for Complete Redress

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ZHUHLQWHQWLRQDOZLOOIXOZDQWRQPDOLFLRXVUHFNOHVVRSSUHVVLYHHJUHJLRXVDQGRXWUDJHRXVDUH

WRUWVRUDFWLRQDEOHDVLQGHSHQGHQWWRUWVMHRSDUGL]HWKHSXEOLFDQGDUHSDUWRIDSDWWHUQGLUHFWHGDW

WKHSXEOLFJHQHUDOO\RIIHQGSXEOLFSROLF\DUHEDVHGRQHYLODQGUHSUHKHQVLEOHPRWLYHVLQYROYH

DQH[WUDRUGLQDULO\GLVLQJHQXRXVDQGGLVKRQHVWIDLOXUHWRFDUU\RXW)LVHUY¶VREOLJDWLRQVDQG

LQYROYHDKLJKGHJUHHRIPRUDOWXUSLWXGHGHPRQVWUDWLQJVXFKZDQWRQGLVKRQHVW\DVWRLPSO\D

FULPLQDOLQGLIIHUHQFHWRFLYLOREOLJDWLRQV

         ,QGHHGDV)LVHUYDFNQRZOHGJHVLQLWVRZQ&RGHRI&RQGXFW %XVLQHVV(WKLFV

³)LVHUYLVFRPPLWWHGWRPDLQWDLQLQJIXOOIDLUDFFXUDWHDQGWLPHO\DFFRXQWLQJDQGEXVLQHVV

UHFRUGV7KLV«SURWHFWVRXUOHJDOLQWHUHVWVDQGKHOSVXVSUHVHUYHWKHWUXVWRIRXUFOLHQWV´See

KWWSVLQYHVWRUVILVHUYFRPVWDWLFILOHVFHIEEEFDDDFFHGEGEF YHUVLRQLQ

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UHTXLUHVWKDWDOO)LVHUYFRPSXWHUV\VWHPVDQGQHWZRUNVRSHUDWHZLWKWKHDYDLODELOLW\HIILFLHQF\




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UHOLDELOLW\DQGLQWHJULW\WKDWDUHH[SHFWHGRIV\VWHPVWKDWSURFHVVILQDQFLDOWUDQVDFWLRQVDQGVWRUH

ILQDQFLDOGDWD7KHFRPSDQ\LVILUPO\FRPPLWWHGWRRSHUDWLQJDQGPDLQWDLQLQJLWVWHFKQRORJ\

DVVHWVLQDPDQQHUWKDWPHULWVWKHWUXVWDQGFRQILGHQFHRIWKHFOLHQWVDQGFRQVXPHUVZHVHUYH´

Id:KDW¶VPRUHDV)LVHUYH[SODLQV³>E@HFDXVHWKHSULQFLSDOPDUNHWIRURXUSURGXFWVDQG

VHUYLFHVLVWKHUHJXODWHGILQDQFLDOVHUYLFHVLQGXVWU\WKHFRQVHTXHQFHVRIQRQFRPSOLDQWRIIHULQJV

FRXOGVHULRXVO\GDPDJHRXUUHSXWDWLRQDQGILQDQFLDOLQWHUHVWV´Id.)LVHUYWKXVNQHZLQOLJKWRI

WKHXQLTXHQDWXUHRILWVEXVLQHVVSURYLGLQJVHUYLFHVWRUHJXODWHGILQDQFLDOLQVWLWXWLRQVWKDWLWV

DFWVRPLVVLRQVFRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQVZRXOGFDXVHVHULRXVGDPDJHDQGJLYHULVH

WROHJDOOLDELOLW\

         )LVHUYKDVHQJDJHGLQDQGKDVNQRZOHGJHRISULRUVLPLODULQMXU\FDXVLQJ

LQFLGHQWVLQFOXGLQJWKURXJKFRPSODLQWVPDGHE\%HVVHPHURWKHU)LVHUYFXVWRPHUVDQGVHFXULW\

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VXSHULRUNQRZOHGJHVNLOOH[SHUWLVHDQGLQIOXHQFHRYHU%HVVHPHU$PRQJRWKHUUHDVRQV)LVHUY

FRQWUROV%HVVHPHU¶VDFFRXQWUHFRUGVDQGLQIRUPDWLRQ)LVHUYUHIXVHGWRSURPSWO\UHWXUQ

%HVVHPHU¶VUHFRUGVDQGLQIRUPDWLRQWRLW)LVHUYZDVLQDQH[FOXVLYHUHODWLRQVKLSZLWK%HVVHPHU

)LVHUYSURKLELWHG%HVVHPHUIURPSHUIRUPLQJFHUWDLQVHUYLFHVRQLWVRZQDFFRXQWRUWKURXJKRWKHU

VHUYLFHSURYLGHUVDQG)LVHUYVRXJKWWRLQGXFHWKHGHSHQGHQFHDQGWUXVWRI%HVVHPHU

         )LVHUYKDVUHFHLYHGLOOJRWWHQJDLQVIURPLWVDFWVRPLVVLRQVFRQFHDOPHQWVDQG

PLVUHSUHVHQWDWLRQVE\DPRQJRWKHUWKLQJVFDXVLQJ%HVVHPHUDQG)LVHUY¶VRWKHUFXVWRPHUVWR

HQWHULQWRWUDQVDFWLRQVWKDWSURYLGHG)LVHUYZLWKDGGLWLRQDODQGH[FHVVLYHSURILWVDQGFROOHFWLQJ

DPRXQWVWKDWZHUHQRWMXVWO\GXHWRLWRUOHJDOO\FKDUJHDEOHDJDLQVW%HVVHPHUDQG)LVHUY¶VRWKHU

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SXEOLFJHQHUDOO\6XFKKDUPKDVEHIDOOHQ%HVVHPHUDQRWIRUSURILWFRRSHUDWLYHDVZHOODVWKH

WKRXVDQGVRILQGLYLGXDOFRQVXPHUVZKRDUH%HVVHPHUPHPEHUV0RUHRYHU)LVHUYSURYLGHV

%HVVHPHUDQGLWVPHPEHUVDVWDQGDUGL]HGDFFRXQWSURFHVVLQJV\VWHPWKDWLVVKDUHGZLWKRWKHU

)LVHUYFXVWRPHUVDQGWKDWDGRSWVVWDQGDUGL]HGFRGLQJ)XUWKHU)LVHUYKDVHPSOR\HG

VWDQGDUGL]HGSROLFLHVDQGEXVLQHVVSUDFWLFHV$FFRUGLQJO\VXFKKDUPKDVEHIDOOHQRWKHU

ILQDQFLDOLQVWLWXWLRQVWKDWDUHFXVWRPHUVRI)LVHUYDVZHOODVWKRVHLQVWLWXWLRQV¶RZQFXVWRPHUV

LQFOXGLQJLQGLYLGXDOFRQVXPHUV7KHVHKDUPVDUHSDUWRIDSDWWHUQRIEHKDYLRU)LVHUYGLUHFWVDW

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         3XEOLFSROLF\VXSSRUWVDQDZDUGRISXQLWLYHGDPDJHVJLYHQWKDW%HVVHPHULVD

QRWIRUSURILWFRQVXPHUILQDQFLDOLQVWLWXWLRQEDQNLQJLVDQHVVHQWLDOSXEOLFVHUYLFHRQZKLFK

FRQVXPHUVPXVWUHO\DQG)LVHUYWDUJHWHGLWVEXVLQHVVRSHUDWLRQVWRUHJXODWHGILQDQFLDO

LQVWLWXWLRQVDQGWKHFRQVXPHUVWKH\VHUYH

         $FFRUGLQJO\SXQLWLYHGDPDJHVDUHDSSURSULDWHLQDGGLWLRQWRDQ\FRPSHQVDWRU\

GDPDJHVIRUKDUPGRQHWR%HVVHPHU6XFKGDPDJHVDUHQHFHVVDU\WRGHWHU)LVHUYDQGRWKHUV

IURPFRPPLWWLQJVLPLODULQFLGHQWVLQWKHIXWXUHDQGWKHDPRXQWRIVXFKSXQLWLYHGDPDJHV

DZDUGHGVKRXOGEHVXIILFLHQWWRKDYHDGHWHUUHQWHIIHFWRQ)LVHUY

         )XUWKHU)LVHUYKDVYLRODWHG%HVVHPHU¶VULJKWVWRWKHGHWULPHQWRI%HVVHPHUDQG

LWVPHPEHUVDQGIXWXUHYLRODWLRQVRI%HVVHPHU¶VULJKWVDQGKDUPWRLWVPHPEHUVDUHWKUHDWHQHG

DQGLPPLQHQW%HVVHPHUKDVQRDGHTXDWHUHPHG\DWODZDQLQMXQFWLRQZLOOSUHYHQW%HVVHPHU

DQGLWVPHPEHUVIURPVXIIHULQJLUUHSDUDEOHLQMXU\DQGWKHHTXLWLHVIDYRUVXFKUHOLHI

                                    )LUVW&ODLPIRU5HOLHI
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DQGELQGLQJREOLJDWLRQVRI)LVHUY6ROXWLRQV

        ,QDGGLWLRQWRWKHH[SUHVVWHUPVRIWKRVHFRQWUDFWVWKHLPSOLHGFRYHQDQWRIJRRG

IDLWKDQGIDLUGHDOLQJDSSOLHVWR)LVHUY6ROXWLRQV¶VFRQWUDFWVZLWK%HVVHPHU:KHQUHDVRQDEO\

UHDGWKHWHUPVRIWKHVHFRQWUDFWVLPSO\FHUWDLQRWKHUREOLJDWLRQVWKDWDUHQHFHVVDU\WRYLQGLFDWH

WKHSDUWLHV¶DSSDUHQWLQWHQWLRQVDQGUHDVRQDEOHH[SHFWDWLRQV%\HQWHULQJLQWRWKHFRQWUDFWV

)LVHUY6ROXWLRQVLPSOLHGO\FRYHQDQWHGWKDWLWZRXOGDFWLQJRRGIDLWKLQFOXGLQJE\SURYLGLQJ

DFFRXQWSURFHVVLQJDQGGHFRQYHUVLRQVHUYLFHVVXLWDEOHIRUWKHSURSHUIXQFWLRQLQJRIDFUHGLW

XQLRQDQGLVVXLQJLQYRLFHVWKDWZHUHOHJLWLPDWHERQDILGHJRRGIDLWKDQGVXSSRUWHG

        %HVVHPHUKDVGXO\SHUIRUPHGDOOREOLJDWLRQVDQGVDWLVILHGDOOFRQGLWLRQVUHTXLUHG

RILWXQGHULWVFRQWUDFWVZLWK)LVHUY6ROXWLRQVH[FHSWIRUWKRVHWKDWZHUHZDLYHGRUH[FXVHGE\

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        %HVVHPHUUHPDLQVUHDG\ZLOOLQJDQGDEOHWRSHUIRUPDQ\UHPDLQLQJREOLJDWLRQV

RILWDULVLQJXQGHUWKH5HSOHYLQ$FWLRQ6HWWOHPHQW$JUHHPHQW

        )LVHUY6ROXWLRQVKDVPDWHULDOO\EUHDFKHGLWVREOLJDWLRQVXQGHULWVFRQWUDFWVZLWK

%HVVHPHUE\IDLOLQJWRSHUIRUPDVUHTXLUHGUHSXGLDWLQJLWVREOLJDWLRQVDQGEUHDFKLQJWKH

LPSOLHGFRYHQDQWRIJRRGIDLWKDQGIDLUGHDOLQJ

        )LVHUY6ROXWLRQVKDVGHPRQVWUDWHGDODFNRIJRRGIDLWKDQGIDLUGHDOLQJE\DPRQJ

RWKHUWKLQJVXQUHDVRQDEO\IDLOLQJWRSURYLGHDFFRXQWSURFHVVLQJDQGSURPSWO\SURYLGLQJ

GHFRQYHUVLRQVHUYLFHVVXLWDEOHIRUWKHSURSHUIXQFWLRQLQJRIDFUHGLWXQLRQDQGLVVXLQJLPSURSHU

LQYRLFHVDQGSD\PHQWGHPDQGVWR%HVVHPHURYHUVWDWLQJWKHDPRXQWV%HVVHPHURZHV ZKLOH

FRUUHVSRQGLQJO\SURKLELWLQJ%HVVHPHUIURPDVVHUWLQJDQ\ULJKWRIGHGXFWLRQRUVHWRIIIURP

DPRXQWVLQYRLFHG WKHUHE\GHSULYLQJ%HVVHPHURIWKHEHQHILWRIWKHEDUJDLQVWKHSDUWLHVVWUXFN




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FRQWUDFWVZLWK%HVVHPHU)LVHUY6ROXWLRQV¶VODFNRIJRRGIDLWKDQGIDLUGHDOLQJKDVKDGWKHHIIHFW

RISUHYHQWLQJ%HVVHPHUIURPUHFHLYLQJWKHUHDVRQDEO\H[SHFWHGEHQHILWRIWKHSDUWLHV¶EDUJDLQ

E\DPRQJRWKHUWKLQJVXQUHDVRQDEO\DQGXQQHFHVVDULO\GHSULYLQJ%HVVHPHURIWKHEHQHILWRIWKH

DFFRXQWSURFHVVLQJDQGGHFRQYHUVLRQVHUYLFHVZKLFKZHUHWREHSURYLGHGE\)LVHUY6ROXWLRQV

H[SRVLQJ%HVVHPHUWRYDVWO\JUHDWHUKDUPWKDQLWKDGEDUJDLQHGIRUDQGZHOORXWVLGHRI

FRPPHUFLDOO\UHDVRQDEOHQRUPVDQGFDXVLQJ%HVVHPHUWRUHPLWSD\PHQWVWR)LVHUY6ROXWLRQV

WKDWDUHQRWMXVWO\GXH)LVHUY6ROXWLRQVRUVXSSRUWHGE\DQ\JRRGIDLWKEDVLV

         )LVHUY6ROXWLRQV¶VFRQWUDFWEUHDFKHVZHUHFDXVHGE\EDGIDLWKDQGLWVZLOOIXO

PDOLFLRXVUHFNOHVVRUJURVVO\QHJOLJHQWFRQGXFWZHUHQRWUHDVRQDEO\FRQWHPSODWHGE\

%HVVHPHUZHUHVRXQUHDVRQDEOHDVWRFRQVWLWXWHDQDEDQGRQPHQWRI)LVHUY6ROXWLRQV¶V

DJUHHPHQWVDQGZHUHEUHDFKHVRI)LVHUY6ROXWLRQV¶VIXQGDPHQWDOREOLJDWLRQV

         ,QGHHGGHVSLWHDSDWWHUQRIUHFXUULQJDQGNQRZQEUHDFKHV)LVHUY6ROXWLRQVZDV

JURVVO\QHJOLJHQWDQGUHFNOHVVIDLOHGWRXVHHYHQDVOLJKWGHJUHHRIFDUHDQGDFWHGZLWKFRPSOHWH

GLVUHJDUGIRU%HVVHPHU¶VULJKWV$OWKRXJK)LVHUY6ROXWLRQVKDGNQRZOHGJHWKDWLWVV\VWHPZDV

PDOIXQFWLRQLQJUHSRUWLQJIDOVHLQIRUPDWLRQWR%HVVHPHUDQGVXVFHSWLEOHWRYXOQHUDELOLWLHVWKDW

FRPSURPLVHGWKHFRQILGHQWLDOLW\RIPHPEHULQIRUPDWLRQ)LVHUY6ROXWLRQVIDLOHGWRDGGUHVV

SURSHUO\WKHVHLVVXHVLQFOXGLQJE\IDLOLQJWRSXW%HVVHPHURQQRWLFHRIWKHPDQGUHIXVLQJWR

SURPSWO\UHWXUQ%HVVHPHU¶VDFFRXQWUHFRUGVDQGLQIRUPDWLRQWRLWVRWKDW%HVVHPHUFRXOG

WUDQVLWLRQWRDQDOWHUQDWLYHSURYLGHU

         $VDUHVXOWRI)LVHUY6ROXWLRQV¶VFRQWUDFWEUHDFKHV%HVVHPHUDQGLWVPHPEHUV

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        )LVHUYRZHGDGXW\WR%HVVHPHUEHFDXVHLQDIILUPDWLYHO\FROOHFWLQJVWRULQJDQG

SURFHVVLQJVHQVLWLYHSHUVRQDODQGILQDQFLDOLQIRUPDWLRQRQLQWHUQHWDFFHVVLEOHFRPSXWHUV\VWHPV

)LVHUYRZHGDGXW\WR%HVVHPHUWRH[HUFLVHUHDVRQDEOHFDUHXQGHUWKHFLUFXPVWDQFHVZKLFK

LQFOXGHVXVLQJUHDVRQDEOHPHDVXUHVWRSURWHFWWKHLQIRUPDWLRQIURPWKHIRUHVHHDEOHULVNRIDGDWD

EUHDFKXQDXWKRUL]HGWKLUGSDUW\DFFHVVRUORVVRUDOWHUDWLRQ7URYHVRIKLJKO\VHQVLWLYHSHUVRQDO

DQGILQDQFLDOGDWDDUHVWRUHGRQLQWHUQHWDFFHVVLEOHV\VWHPVDGPLQLVWHUHGE\)LVHUYDQGDUH

REYLRXVWDUJHWVIRUF\EHUFULPLQDOV$UHDVRQDEOHHQWLW\LQ)LVHUY¶VSRVLWLRQVKRXOGIRUHVHHWKDWD

IDLOXUHWRXVHUHDVRQDEOHVHFXULW\PHDVXUHVRUDIDLOXUHWRPDLQWDLQDQGSURYLGHFRPSOHWHDQG

DFFXUDWHLQIRUPDWLRQFDQOHDGWRVHULRXVILQDQFLDOFRQVHTXHQFHV$FFRUGLQJO\LQFROOHFWLQJ

VWRULQJDQGSURFHVVLQJ%HVVHPHU¶VPHPEHULQIRUPDWLRQRQLQWHUQHWDFFHVVLEOHFRPSXWHU

V\VWHPV)LVHUYRZHGDGXW\WRH[HUFLVHUHDVRQDEOHFDUHWRSURWHFW%HVVHPHUDJDLQVW

XQUHDVRQDEOHULVNVRIKDUPDULVLQJRXWRIWKRVHDFWV)LVHUYDVWKHHQWLW\ZLWKFXVWRG\RIWKDW

LQIRUPDWLRQZDVWKHRQO\SDUW\WKDWUHDOLVWLFDOO\FRXOGHQVXUHWKDWLWVV\VWHPVZHUHVXIILFLHQWWR

SURSHUO\KDQGOHDQGSURWHFWWKHVHQVLWLYHPHPEHULQIRUPDWLRQWKDW%HVVHPHUHQWUXVWHGWR)LVHUY

        )LVHUYDOVRRZHGDGXW\WR%HVVHPHUEHFDXVH)LVHUYZDVFHUWDLQWKDW%HVVHPHU

ZRXOGVXIIHUDQG%HVVHPHUGLGLQIDFWVXIIHUDQGZLOOFRQWLQXHWRVXIIHUPRQHWDU\DQG

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        )LVHUYDOVRRZHGDGXW\WR%HVVHPHUEHFDXVHWKHUHLVDFORVHFRQQHFWLRQEHWZHHQ

)LVHUY¶VFRQGXFWDQG%HVVHPHU¶VLQMXULHVLQVRIDUDV%HVVHPHUZRXOGQRWKDYHEHHQLQMXUHGEXW

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LQWHUHVWLQEDQNLQJJLYHQWKDWLWLVDQHVVHQWLDOVHUYLFHRQZKLFKFRQVXPHUVPXVWUHO\DVZHOODV

DVWURQJSXEOLFSROLF\LQWHUHVWLQSUHYHQWLQJ)LVHUYIURPEHKDYLQJLQVXFKDUHFNOHVVFDUHOHVV

DQGQHJOLJHQWIDVKLRQDQGIURPVKLIWLQJEODPHWRRWKHUV

        )LVHUYIXUWKHURZHGDGXW\WR%HVVHPHUEHFDXVHWKHEXUGHQRQ)LVHUYLVPLQLPDO

DQGWKHFRQVHTXHQFHVWRWKHFRPPXQLW\DUHSRVLWLYHDVDUHVXOWRILPSRVLQJDGXW\RQ)LVHUY

XQGHUWKHVHFLUFXPVWDQFHV

        )LVHUYDOVRRZHVDGXW\EHFDXVHXSRQLQIRUPDWLRQDQGEHOLHIWKHUHLVLQVXUDQFH

DYDLODEOHIRUWKLVULVN0RUHRYHU)LVHUYZKLFKUHSRUWHGDQQXDOUHYHQXHVLQH[FHVVRIELOOLRQ

FDQDIIRUGDQ\GDPDJHVDZDUGHGE\WKHWULHURIIDFW

        7KURXJKLWVDFWVRPLVVLRQVFRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQV)LVHUYIDLOHG

WRDFWZLWKWKHFDUHWKDWDUHDVRQDEO\SUXGHQWSHUVRQZRXOGH[HUFLVHLQWKHVDPHRUVLPLODU

FLUFXPVWDQFHV

        )LVHUYZDVJURVVO\QHJOLJHQWDQGUHFNOHVVIDLOHGWRXVHHYHQDVOLJKWGHJUHHRI

FDUHDQGDFWHGZLWKFRPSOHWHGLVUHJDUGIRU%HVVHPHU¶VULJKWV

        :LWKRXWOLPLWDWLRQ)LVHUYIDLOHGWRLQVWLWXWHDSSURSULDWHSURWHFWLYHPHDVXUHVWR

PDLQWDLQWKHVDIHW\VHFXULW\DQGDFFXUDF\RIWKHFRQILGHQWLDOPHPEHULQIRUPDWLRQWRZKLFKLW

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        )LVHUYIDLOHGWRLQIRUPRUZDUQ%HVVHPHURIDWOHDVWWKHIROORZLQJ

                  • WKDW)LVHUYKDGIDLOHGWRHQDFWDSSURSULDWHPHDVXUHVWRSURWHFWWKHVDIHW\
                     VHFXULW\DQGDFFXUDF\RI%HVVHPHU¶VPHPEHULQIRUPDWLRQ

                  • WKDWLQWKHDEVHQFHRIVXFKPHDVXUHV)LVHUYZRXOGSHUPLWXQDXWKRUL]HG
                     LQGLYLGXDOVWRDFFHVVGHOHWHRUPRGLI\%HVVHPHU¶VPHPEHULQIRUPDWLRQDQG
                     WKDWPHPEHULQIRUPDWLRQSURYLGHGWRDXWKRUL]HGLQGLYLGXDOVZRXOGQRWEH
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                   WKDWWKHVDIHW\VHFXULW\DQGDFFXUDF\RILWVPHPEHULQIRUPDWLRQZRXOGEH
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         )LVHUY¶VQHJOLJHQFHKDVRFFXUUHGRQPDQ\RFFDVLRQVGXULQJWKHFRXUVHRIWKH

SDUWLHV¶UHODWLRQVKLSDQGDIWHU%HVVHPHUSURYLGHGDQRWLFHRIWHUPLQDWLRQRIWKH0DVWHU

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VRFLDOGXWLHVWKDWDUHVHSDUDWHDQGGLVWLQFWIURPDQGFROODWHUDOWRDQ\VSHFLILFH[HFXWRU\

FRQWUDFWXDOSURPLVHV)LVHUY6ROXWLRQVPDGHWR%HVVHPHU7KHGXWLHVYLRODWHGE\)LVHUYDUHLQ

WKHQDWXUHRIDWRUWEHFDXVHWKHUHOHYDQWGXWLHV HJWKHGXWLHVWRDFWLQDUHDVRQDEOH

QRQQHJOLJHQWPDQQHU DURVHUHJDUGOHVVRIDQ\FRQWUDFWEHWZHHQ)LVHUY6ROXWLRQVDQG%HVVHPHU

DQG)LVHUYKDVYLRODWHGVXFKGXWLHVDIWHU%HVVHPHUSURYLGHGDQRWLFHRIWHUPLQDWLRQRIWKH0DVWHU

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LQIRUPDWLRQDUHVWRUHGLQDWDQJLEOHIRUPDWLQLQIRUPDWLRQWHFKQRORJ\V\VWHPVRURWKHUPHGLD

DGPLQLVWHUHGE\)LVHUY)LVHUY6ROXWLRQVDFNQRZOHGJHGWKDW%HVVHPHU¶VUHFRUGVDQGLQIRUPDWLRQ

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GRFXPHQWV,QGHHGVXFKUHFRUGVDQGLQIRUPDWLRQHPERG\DQGUHSUHVHQWZLWKRXWOLPLWDWLRQWKH

WLWOHWRWKHVKDUHV%HVVHPHUPHPEHUVRZQDVZHOODVGHEWVDQGRWKHUREOLJDWLRQVRI%HVVHPHUWR

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PHPEHUVKDYHVXIIHUHGDQGZLOOFRQWLQXHWRVXIIHUGDPDJHVDQGKDUP6XFKGDPDJHVDQGKDUP

LQFOXGHSD\PHQWVPDGHWR)LVHUYIRUVHUYLFHVWKDWZHUHQRWSURSHUO\SHUIRUPHGGDPDJHWR

%HVVHPHU¶VEXVLQHVVEHLQJSODFHGDWDQLPPLQHQWLPPHGLDWHDQGFRQWLQXLQJLQFUHDVHGULVNRI

KDUPIURPXWLOL]LQJLQDFFXUDWHLQIRUPDWLRQDQGEHLQJYLFWLPL]HGE\LGHQWLW\WKHIWDQGIUDXGDQG

WLPHDQGHIIRUWQHHGHGWRPLWLJDWHWKHDGYHUVHDFWXDODQGSRWHQWLDOLPSDFWRI)LVHUY¶VDFWV

RPLVVLRQVFRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQVLQFOXGLQJSURYLGLQJLQFUHDVHGVHFXULW\DJDLQVW

DQGLQYHVWLJDWLQJIUDXGXOHQWRULQDFFXUDWHWUDQVDFWLRQVFDQFHOOLQJDQGUHLVVXLQJSD\PHQWFDUGV

LPSRVLQJZLWKGUDZDODQGWUDQVDFWLRQDOOLPLWVRQDFFRXQWVDQGORVLQJLQWHUHVWUHYHQXHDQGIHHV

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E\LQGLYLGXDOFRQVXPHUVZKRSRROWKHLUUHVRXUFHVWRSURYLGHFUHGLWWRRQHDQRWKHU%HVVHPHU¶V

SXUSRVHDVH[SUHVVHGLQLWVE\ODZVLVWREH³DPHPEHURZQHGGHPRFUDWLFDOO\RSHUDWHGQRWIRU

SURILWPDQDJHGE\DYROXQWHHUERDUGRIGLUHFWRUVZLWKWKHVSHFLILHGPLVVLRQRIPHHWLQJWKHFUHGLW

DQGVDYLQJVQHHGVRIFRQVXPHUVHVSHFLDOO\SHUVRQVRIPRGHVWPHDQV´%HVVHPHUWKXVH[LVWVWR

VHUYHLWVPHPEHUVDQGWKHLULQGLYLGXDOFRQVXPHUVDYLQJVQHHGVUDWKHUWKDQWRHQJDJHLQEXVLQHVV

DFWLYLWLHVWKDWJHQHUDWHSURILWV)XUWKHUWKHH[WHQWRI%HVVHPHU¶VDFWLYLWLHVLVOLPLWHGE\LWV

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%HVVHPHU¶VPHPEHUVZKRDUHLQGLYLGXDOFRQVXPHUVEHORQJLQJWRDFRRSHUDWLYH,QGHHGVXFK

PHPEHUVDUHLQWHQGHGWREHQHILWIURP)LVHUY¶VUHOHYDQWJRRGVDQGVHUYLFHVDQGVXFKFRQVXPHUV

UHFHLYHFHUWDLQRIVXFKJRRGVDQGVHUYLFHVGLUHFWO\IURP)LVHUYIRUWKHPHPEHUV¶SHUVRQDO

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DQGWKURXJKLWVDFWVRPLVVLRQVFRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQV)LVHUYYLRODWHGODZV

SURKLELWLQJXQIDLUDQGGHFHSWLYHWUDGHDFWVDQGSUDFWLFHVE\HQJDJLQJLQDFWVDQGSUDFWLFHVWKDW

PDWHULDOO\DIIHFWFRQVXPHUVDWODUJHLQFOXGLQJ%HVVHPHUDQGLWVVHYHUDOWKRXVDQGPHPEHUVZKR

DUHLQGLYLGXDOFRQVXPHUV7KHVHDFWVDQGSUDFWLFHVFRQVWLWXWHDSDWWHUQRIEHKDYLRURQWKHSDUWRI

)LVHUYSXUVXHGDVDZURQJIXOEXVLQHVVSUDFWLFHWKDWKDVYLFWLPL]HGDQGFRQWLQXHVWRYLFWLPL]H

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                   D    FDXVLQJOLNHOLKRRGRIFRQIXVLRQRURIPLVXQGHUVWDQGLQJDVWRWKHVRXUFH

VSRQVRUVKLSDSSURYDORUFHUWLILFDWLRQRIJRRGVDQGVHUYLFHVWKDW)LVHUYSURYLGHGRU

FRQWHPSODWHGSURYLGLQJWR%HVVHPHU¶VPHPEHUV

                   E    UHSUHVHQWLQJWKDWLWVJRRGVDQGVHUYLFHVKDYHVSRQVRUVKLSDSSURYDO

FKDUDFWHULVWLFVXVHVEHQHILWVRUTXDQWLWLHVWKDWWKH\GRQRWKDYH

                   F    IDOVHO\UHSUHVHQWLQJWKDWLWVJRRGVDQGVHUYLFHVDUHRISDUWLFXODUVWDQGDUGV

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RQ)LVHUY¶VVKDUHGV\VWHPVZLWKRXWDGHTXDWHGLVFORVXUHVRITXDQWLW\OLPLWDWLRQV

                   I   PDNLQJIDOVHDQGPLVOHDGLQJVWDWHPHQWVRIIDFWFRQFHUQLQJWKHUHDVRQVIRU

H[LVWHQFHRIRUDPRXQWVRISULFHVDQGSULFHUHGXFWLRQVLQFOXGLQJIDLOLQJWRFOHDUO\VHWIRUWK

SULFHVLQDPDQQHULQZKLFKFDQUHDVRQDEO\EHDVFHUWDLQHG

                   J   IDLOLQJWRFRPSO\ZLWKWKHWHUPVRIZULWWHQJXDUDQWHHVRUZDUUDQWLHV

SURYLGHGSULRUWRRUDIWHUFRQWUDFWVIRUWKHSXUFKDVHRIJRRGVDQGVHUYLFHVDUHPDGH

                   K   NQRZLQJO\PLVUHSUHVHQWLQJWKDWVHUYLFHVUHSODFHPHQWVRUUHSDLUVDUH

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                   L   PDNLQJUHSDLUVLPSURYHPHQWVRUUHSODFHPHQWVRQWDQJLEOHUHDORU

SHUVRQDOSURSHUW\RIDQDWXUHRUTXDOLW\LQIHULRUWRRUEHORZWKHVWDQGDUGRIWKDWDJUHHGWRLQ

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                   M   HQJDJLQJLQRWKHUIUDXGXOHQWDQGGHFHSWLYHFRQGXFWWKDWFUHDWHVD

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SDWWHUQRUSUDFWLFHWKDWKDVKDUPHGLQGLYLGXDOFRQVXPHUVLQFOXGLQJWKRXVDQGVRILQGLYLGXDO

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VWDQGDUGL]HGDFFRXQWSURFHVVLQJV\VWHPDQGRQOLQHEDQNLQJSODWIRUPWKDWLVVKDUHGZLWKRWKHU

)LVHUYFXVWRPHUVDQG)LVHUYDGRSWVVWDQGDUGL]HGFRGLQJLQSHUIRUPLQJLWVVHUYLFHV,QGHHG

DFFRUGLQJWR)LVHUYLWVXSSRUWVPRUHWKDQPLOOLRQRQOLQHEDQNLQJHQGXVHUV)XUWKHU)LVHUY

KDVHPSOR\HGVWDQGDUGL]HGSROLFLHVDQGEXVLQHVVSUDFWLFHV,QDGGLWLRQVRPHRI)LVHUY¶VDFWV

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RIDSDWWHUQRUSUDFWLFHGLUHFWHGDWWKHSXEOLFJHQHUDOO\DQGWKDWKDVKDUPHG%HVVHPHUDQGLWV

PHPEHUV ZKRDUHLQGLYLGXDOFRQVXPHUV DVZHOODVRWKHUILQDQFLDOLQVWLWXWLRQVWKDWDUH

FXVWRPHUVRI)LVHUYDQGWKRVHILQDQFLDOLQVWLWXWLRQV¶FXVWRPHUV ZKRDUHLQGLYLGXDOFRQVXPHUV 

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WKDWWKH\DUHOLNHO\WRPLVOHDGUHDVRQDEOHFRQVXPHUVDFWLQJUHDVRQDEO\XQGHUWKHFLUFXPVWDQFHV

DQGWKH\KDYHGHFHLYHG%HVVHPHULWVPHPEHUVDQGWKHSXEOLF)RUH[DPSOH)LVHUYKDVPDGH

QXPHURXVPLVUHSUHVHQWDWLRQVDERXWFRQVXPHUV¶ILQDQFLDODFFRXQWLQIRUPDWLRQLQFOXGLQJWKH

DPRXQWVFRQVXPHUVKDYHRQGHSRVLWZLWK%HVVHPHUWKHDPRXQWVPHPEHUVRZH%HVVHPHUWKH

DPRXQWV%HVVHPHURZHVLWVPHPEHUVDQGWKHH[LVWHQFHDQGVWDWXVRIPHPEHUV¶DFFRXQWV$VD

IXUWKHUH[DPSOH)LVHUYKDVPDGHQXPHURXVPLVUHSUHVHQWDWLRQVDERXWWKHFDSDELOLWLHVDQGSULFHV

RILWVVHUYLFHRIIHULQJVWKHVHFXULW\RIFRQILGHQWLDOLQIRUPDWLRQHQWUXVWHGWR)LVHUYWKHQHFHVVLW\

IRUFHUWDLQUHSDLUVRUDGGLWLRQDOVHUYLFHVDQGWKHDPRXQWV%HVVHPHURZHV)LVHUYDVUHIOHFWHGRQ

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FRQVXPHUV¶DELOLWLHVWRHYDOXDWHWKHLUPDUNHWRSWLRQVDQGWRPDNHIUHHDQGLQWHOOLJHQWFKRLFHVWR

UHFHLYHVHUYLFHVIURP%HVVHPHUWKHUHE\KDUPLQJ%HVVHPHUE\UHGXFLQJWKHQXPEHURI

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%HVVHPHUKDVHQJDJHGLQWUDQVDFWLRQVZLWKPHPEHUVUHIXVHGWRHQJDJHLQWUDQVDFWLRQVZLWK

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LQYRLFHVWKDWFHUWDLQIHHVZHUHGXHDQGRZLQJWR)LVHUYDQG)LVHUYIDOVHO\UHSUHVHQWHGWKH

VRXQGQHVVDQGVHFXULW\RILWVV\VWHPLQGXFLQJ%HVVHPHUDQGLWVPHPEHUVWRHQWUXVW)LVHUYZLWK

WKHLUVHQVLWLYHLQIRUPDWLRQDQGWRSD\)LVHUYFKDUJHVDVVRFLDWHGZLWKVXFKGHFHSWLYHVHUYLFHV

         )LVHUY¶VDFWVRPLVVLRQVFRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQVDUHGLUHFWO\

FRQWUDGLFWHGE\LQIRUPDWLRQWKDWHLWKHU D RULJLQDWHGIURPRUFRQFHUQV)LVHUYDQGLWVSURGXFWDQG

VHUYLFHRIIHULQJVDQGZDVWKHUHE\DOUHDG\NQRZQE\)LVHUYRU E ZDVSURYLGHGWR)LVHUYE\

WKLUGSDUWLHVVXFKDV%HVVHPHUDQGLWVPHPEHUVDQGVXFKLQIRUPDWLRQZDVWKHUHE\NQRZQE\

)LVHUY)LVHUYLVUHVSRQVLEOHIRUNQRZLQJWKHH[LVWHQFHDQGFRQWHQWVRILQIRUPDWLRQZLWKLQLWV

FXVWRG\DQGFRQWURO$FFRUGLQJO\)LVHUY¶VDFWVRPLVVLRQVFRQFHDOPHQWVDQG

PLVUHSUHVHQWDWLRQVZHUHNQRZLQJO\IDOVHZKHQPDGHRUUHFNOHVVO\PDGHZLWKRXWUHJDUGWRWKHLU

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DFWVRPLVVLRQVFRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQVZHUHXQWUXHZHUHPLVOHDGLQJDQGGLG

GHFHLYHPHPEHUVRIWKHJHQHUDOSXEOLFDQGWKDWFRQVXPHUVDQGWKHLUQRWIRUSURILWFRRSHUDWLYHV

ZRXOGUHO\DQGGLGLQIDFWUHO\RQ)LVHUY¶VDFWVRPLVVLRQVFRQFHDOPHQWVDQG

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SXEOLFSROLF\DQGDUHLPPRUDOXQHWKLFDORSSUHVVLYHXQVFUXSXORXVDQGVXEVWDQWLDOO\LQMXULRXVWR

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VRFLDOGXWLHVWKDWDUHVHSDUDWHDQGGLVWLQFWIURPDQGFROODWHUDOWRDQ\VSHFLILFH[HFXWRU\

FRQWUDFWXDOSURPLVHV)LVHUY6ROXWLRQVPDGHWR%HVVHPHU7KHGXWLHVYLRODWHGE\)LVHUYDUHLQ

WKHQDWXUHRIDVWDWXWRU\FODLPEHFDXVHWKHUHOHYDQWVWDWXWRU\GXWLHVDURVHUHJDUGOHVVRIDQ\

FRQWUDFWEHWZHHQ)LVHUY6ROXWLRQVDQG%HVVHPHUDQG)LVHUYKDVYLRODWHGVXFKGXWLHVSULRUWRWKH

H[HFXWLRQRIWKH0DVWHU$JUHHPHQWDVZHOODVDIWHU%HVVHPHUSURYLGHGDQRWLFHRIWHUPLQDWLRQRI

WKH0DVWHU$JUHHPHQWRQ$SULO$FFRUGLQJO\WKHGXWLHVYLRODWHGE\)LVHUYDUHGHILQHG

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HQWHULQWRWUDQVDFWLRQVWKDWSURYLGHG)LVHUYZLWKDGGLWLRQDODQGH[FHVVLYHSURILWVFROOHFWLQJ

DPRXQWVWKDWZHUHQRWMXVWO\GXHWRLWRUOHJDOO\FKDUJHDEOHDJDLQVW%HVVHPHUDQG)LVHUY¶VRWKHU

FXVWRPHUVDQGSUHYHQWLQJ%HVVHPHUDQGLWVPHPEHUVIURPXVLQJYHQGRUVWKDWDUHFRPSHWLWLYH

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3HQQV\OYDQLD¶V8QIDLU7UDGH3UDFWLFHVDQG&RQVXPHU3URWHFWLRQ/DZDVZHOODV1HZ<RUN¶V

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SUDFWLFHV%HVVHPHUDQGLWVPHPEHUVKDYHVXIIHUHGDQGZLOOFRQWLQXHWRVXIIHUGDPDJHVDQG

KDUP6XFKGDPDJHVDQGKDUPLQFOXGHSD\PHQWVPDGHWR)LVHUYIRUVHUYLFHVWKDWZHUHQRW

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DQGFRQWLQXLQJLQFUHDVHGULVNRIKDUPIURPXWLOL]LQJLQDFFXUDWHLQIRUPDWLRQDQGEHLQJYLFWLPL]HG

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SRWHQWLDOLPSDFWRI)LVHUY¶VDFWVRPLVVLRQVFRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQVLQFOXGLQJ

SURYLGLQJLQFUHDVHGVHFXULW\DJDLQVWDQGLQYHVWLJDWLQJIUDXGXOHQWRULQDFFXUDWHWUDQVDFWLRQV

FDQFHOOLQJDQGUHLVVXLQJSD\PHQWFDUGVLPSRVLQJZLWKGUDZDODQGWUDQVDFWLRQDOOLPLWVRQ

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DQGWKHH[LVWHQFHDQGVWDWXVRIPHPEHUV¶DFFRXQWV$VDIXUWKHUH[DPSOH)LVHUYKDVPDGH

QXPHURXVPLVUHSUHVHQWDWLRQVDERXWWKHFDSDELOLWLHVDQGSULFHVRILWVVHUYLFHRIIHULQJVWKH

QHFHVVLW\IRUFHUWDLQUHSDLUVRUDGGLWLRQDOVHUYLFHVWKHDPRXQWV%HVVHPHURZHV)LVHUYDV

UHIOHFWHGRQ)LVHUY¶VLQYRLFHVDQGWKHVHFXULW\RIPHPEHULQIRUPDWLRQZKLOHLQ)LVHUY¶VFXVWRG\

         )LVHUY¶VDFWVRPLVVLRQVFRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQVDUHGLUHFWO\

FRQWUDGLFWHGE\LQIRUPDWLRQWKDWHLWKHU D RULJLQDWHGIURPRUFRQFHUQV)LVHUYDQGLWVSURGXFWDQG

VHUYLFHRIIHULQJVDQGZDVWKHUHE\NQRZQE\)LVHUYRU E ZDVSURYLGHGWR)LVHUYE\WKLUG

SDUWLHVVXFKDV%HVVHPHUDQGLWVPHPEHUVDQGVXFKLQIRUPDWLRQZDVWKHUHE\NQRZQE\)LVHUY

)LVHUYLVUHVSRQVLEOHIRUNQRZLQJWKHH[LVWHQFHDQGFRQWHQWVRILQIRUPDWLRQZLWKLQLWVFXVWRG\

DQGFRQWURO$FFRUGLQJO\)LVHUY¶VDFWVRPLVVLRQVFRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQVZHUH

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         )LVHUYNQHZRUVKRXOGKDYHNQRZQWKDWLWVDFWVRPLVVLRQVFRQFHDOPHQWVDQG

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%HVVHPHULQWRUHO\LQJXSRQWKHPDQG%HVVHPHUGLGVRMXVWLILDEO\UHO\,QGHHGDV)LVHUY

DFNQRZOHGJHVLQLWVRZQ&RGHRI&RQGXFW %XVLQHVV(WKLFV³)LVHUYLVFRPPLWWHGWR

PDLQWDLQLQJIXOOIDLUDFFXUDWHDQGWLPHO\DFFRXQWLQJDQGEXVLQHVVUHFRUGV7KLV«SURWHFWVRXU

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UHTXLUHVWKDWDOO)LVHUYFRPSXWHUV\VWHPVDQGQHWZRUNVRSHUDWHZLWKWKHDYDLODELOLW\HIILFLHQF\

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FRXOGVHULRXVO\GDPDJHRXUUHSXWDWLRQDQGILQDQFLDOLQWHUHVWV´Id.)LVHUYWKXVNQHZLQOLJKWRI

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IDLOXUHWRVXSSO\IXOOIDLUDFFXUDWHDQGWLPHO\LQIRUPDWLRQWRDILQDQFLDOLQVWLWXWLRQVXFKDV

%HVVHPHUZRXOGQRWRQO\XQGHUPLQHDFOLHQW¶VMXVWLILDEOHWUXVWLQ)LVHUYEXWDOVRFDXVHVHULRXV

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VSHFLILFLQWHQWRIDPRQJRWKHUWKLQJVLQGXFLQJ%HVVHPHUWRHQWHULQWRFRQWUDFWVZLWK)LVHUY

6ROXWLRQVLQFOXGLQJWKH0DVWHU$JUHHPHQWDQGWKH5HSOHYLQ$FWLRQ6HWWOHPHQW$JUHHPHQW

7KHVHDJUHHPHQWVGLGQRWGLVFODLPUHOLDQFHRQWKHVSHFLILFDFWVRPLVVLRQVFRQFHDOPHQWVDQG

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PLVUHSUHVHQWDWLRQVWR%HVVHPHU¶VGHWULPHQWE\DPRQJRWKHUWKLQJVHQWHULQJLQWRFRQWUDFWVZLWK

)LVHUYWKDW%HVVHPHUKDGQRGXW\WRHQWHULQWRHQWHULQJLQWRWUDQVDFWLRQVWKDWSURYLGHG)LVHUY

ZLWKDGGLWLRQDODQGH[FHVVLYHSURILWVSD\LQJ)LVHUYDPRXQWVWKDWZHUHQRWMXVWO\GXHWRLWRU

OHJDOO\FKDUJHDEOHDJDLQVW%HVVHPHUDQGHQJDJLQJLQWUDQVDFWLRQVZLWK%HVVHPHU¶VPHPEHUV

UHIXVLQJWRHQJDJHLQWUDQVDFWLRQVZLWKPHPEHUV LQFOXGLQJZLWKKROGLQJIXQGVMXVWO\RZLQJWR

PHPEHUV RURWKHUZLVHGHDOLQJZLWKPHPEHUVEDVHGXSRQWKHIDOVHDFFRXQWUHFRUGVDQG

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FRQWUDFWXDOSURPLVHV)LVHUY6ROXWLRQVPDGHWR%HVVHPHU7KHGXWLHVYLRODWHGE\)LVHUYDUHLQ

WKHQDWXUHRIDWRUWEHFDXVHWKHUHOHYDQWGXWLHV HJWKHGXW\WRQRWPDNHIDOVHDFWVRPLVVLRQV

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DQG%HVVHPHUDQG)LVHUYKDVYLRODWHGVXFKGXWLHVSULRUWRWKHH[HFXWLRQRIWKH0DVWHU

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KDYHVXIIHUHGDQGZLOOFRQWLQXHWRVXIIHUGDPDJHVDQGKDUP6XFKGDPDJHVDQGKDUPLQFOXGH

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EXVLQHVVEHLQJSODFHGDWDQLPPLQHQWLPPHGLDWHDQGFRQWLQXLQJLQFUHDVHGULVNRIKDUPIURP

XWLOL]LQJLQDFFXUDWHLQIRUPDWLRQDQGEHLQJYLFWLPL]HGE\LGHQWLW\WKHIWDQGIUDXGDQGWLPHDQG

HIIRUWQHHGHGWRPLWLJDWHWKHDGYHUVHDFWXDODQGSRWHQWLDOLPSDFWRI)LVHUY¶VDFWVRPLVVLRQV

FRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQVLQFOXGLQJSURYLGLQJLQFUHDVHGVHFXULW\DJDLQVWDQG

LQYHVWLJDWLQJIUDXGXOHQWRULQDFFXUDWHWUDQVDFWLRQVFDQFHOOLQJDQGUHLVVXLQJSD\PHQWFDUGV

LPSRVLQJZLWKGUDZDODQGWUDQVDFWLRQDOOLPLWVRQDFFRXQWVDQGORVLQJLQWHUHVWUHYHQXHDQGIHHV

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FRQWUROV%HVVHPHU¶VUHFRUGVDQGLQIRUPDWLRQ)LVHUYUHIXVHGWRSURPSWO\UHWXUQ%HVVHPHU¶V

UHFRUGVDQGLQIRUPDWLRQWRLW)LVHUYZDVLQDQH[FOXVLYHUHODWLRQVKLSZLWK%HVVHPHU)LVHUY

SURKLELWHG%HVVHPHUIURPSHUIRUPLQJFHUWDLQVHUYLFHVRQLWVRZQDFFRXQWRUWKURXJKRWKHU

VHUYLFHSURYLGHUVDQG)LVHUYVRXJKWWRLQGXFHWKHGHSHQGHQFHDQGWUXVWRI%HVVHPHU

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FRQVXPHUV¶ILQDQFLDODFFRXQWLQIRUPDWLRQLQFOXGLQJWKHDPRXQWVFRQVXPHUVKDYHRQGHSRVLW

ZLWK%HVVHPHUWKHDPRXQWVPHPEHUVRZH%HVVHPHUWKHDPRXQWV%HVVHPHURZHVLWVPHPEHUV

DQGWKHH[LVWHQFHDQGVWDWXVRIPHPEHUV¶DFFRXQWV$VDIXUWKHUH[DPSOH)LVHUYKDVPDGH

QXPHURXVPLVUHSUHVHQWDWLRQVDERXWWKHFDSDELOLWLHVDQGSULFHVRILWVVHUYLFHRIIHULQJVWKH

QHFHVVLW\IRUFHUWDLQUHSDLUVRUDGGLWLRQDOVHUYLFHVWKHDPRXQWV%HVVHPHURZHV)LVHUYDV

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        )LVHUY¶VDFWVRPLVVLRQVFRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQVZHUHIDOVHRU

UHFNOHVVO\PDGHZLWKRXWUHJDUGWRWKHLUIDOVLW\DQGZHUHPDWHULDOWR%HVVHPHUDQG%HVVHPHUGLG

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,QGHHGDV)LVHUYDFNQRZOHGJHVLQLWVRZQ&RGHRI&RQGXFW %XVLQHVV(WKLFV³)LVHUYLV




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KWWSVLQYHVWRUVILVHUYFRPVWDWLFILOHVFHIEEEFDDDFFHGEGEF YHUVLRQLQ

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UHTXLUHVWKDWDOO)LVHUYFRPSXWHUV\VWHPVDQGQHWZRUNVRSHUDWHZLWKWKHDYDLODELOLW\HIILFLHQF\

UHOLDELOLW\DQGLQWHJULW\WKDWDUHH[SHFWHGRIV\VWHPVWKDWSURFHVVILQDQFLDOWUDQVDFWLRQVDQGVWRUH

ILQDQFLDOGDWD7KHFRPSDQ\LVILUPO\FRPPLWWHGWRRSHUDWLQJDQGPDLQWDLQLQJLWVWHFKQRORJ\

DVVHWVLQDPDQQHUWKDWPHULWVWKHWUXVWDQGFRQILGHQFHRIWKHFOLHQWVDQGFRQVXPHUVZHVHUYH´

Id:KDW¶VPRUHDV)LVHUYH[SODLQV³>E@HFDXVHWKHSULQFLSDOPDUNHWIRURXUSURGXFWVDQG

VHUYLFHVLVWKHUHJXODWHGILQDQFLDOVHUYLFHVLQGXVWU\WKHFRQVHTXHQFHVRIQRQFRPSOLDQWRIIHULQJV

FRXOGVHULRXVO\GDPDJHRXUUHSXWDWLRQDQGILQDQFLDOLQWHUHVWV´Id.)LVHUYWKXVNQHZLQOLJKWRI

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IDLOXUHWRVXSSO\IXOOIDLUDFFXUDWHDQGWLPHO\LQIRUPDWLRQWRDILQDQFLDOLQVWLWXWLRQVXFKDV

%HVVHPHUZRXOGQRWRQO\XQGHUPLQHDFOLHQW¶VMXVWLILDEOHWUXVWLQ)LVHUYEXWDOVRFDXVHVHULRXV

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PLVUHSUHVHQWDWLRQVWR%HVVHPHU¶VGHWULPHQWE\DPRQJRWKHUWKLQJVHQWHULQJLQWRWUDQVDFWLRQV

WKDWSURYLGHG)LVHUYZLWKDGGLWLRQDODQGH[FHVVLYHSURILWVSD\LQJ)LVHUYDPRXQWVWKDWZHUHQRW

MXVWO\GXHWRLWRUOHJDOO\FKDUJHDEOHDJDLQVW%HVVHPHUDQGHQJDJLQJLQWUDQVDFWLRQVZLWK

%HVVHPHU¶VPHPEHUVUHIXVLQJWRHQJDJHLQWUDQVDFWLRQVZLWKPHPEHUV LQFOXGLQJZLWKKROGLQJ

IXQGVMXVWO\RZLQJWRPHPEHUV RURWKHUZLVHGHDOLQJZLWKPHPEHUVEDVHGXSRQWKHIDOVH

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FRQWUDFWXDOSURPLVHV)LVHUY6ROXWLRQVPDGHWR%HVVHPHU7KHGXWLHVYLRODWHGE\)LVHUYDUHLQ

WKHQDWXUHRIDWRUWEHFDXVHWKHUHOHYDQWGXWLHV HJWKHGXW\WRQRWPDNHIDOVHDFWVRPLVVLRQV

FRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQV DURVHUHJDUGOHVVRIDQ\FRQWUDFWEHWZHHQ)LVHUY6ROXWLRQV

DQG%HVVHPHUDQG)LVHUYKDVYLRODWHGVXFKGXWLHVSULRUWRWKHH[HFXWLRQRIWKH0DVWHU

$JUHHPHQWDVZHOODVDIWHU%HVVHPHUSURYLGHGDQRWLFHRIWHUPLQDWLRQRIWKH0DVWHU$JUHHPHQW

RQ$SULO$FFRUGLQJO\WKHGXWLHVYLRODWHGE\)LVHUYDUHGHILQHGE\WKHVRFLDOSROLFLHV

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FRQVWUXFWLYHO\GHIUDXGHG%HVVHPHU

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PHPEHUVKDYHVXIIHUHGDQGZLOOVXIIHUGDPDJHVDQGKDUP6XFKGDPDJHVDQGKDUPLQFOXGH

SD\PHQWVPDGHWR)LVHUYIRUVHUYLFHVWKDWZHUHQRWSURSHUO\SHUIRUPHGGDPDJHWR%HVVHPHU¶V

EXVLQHVVEHLQJSODFHGDWDQLPPLQHQWLPPHGLDWHDQGFRQWLQXLQJLQFUHDVHGULVNRIKDUPIURP

XWLOL]LQJLQDFFXUDWHLQIRUPDWLRQDQGEHLQJYLFWLPL]HGE\LGHQWLW\WKHIWDQGIUDXGDQGWLPHDQG

HIIRUWQHHGHGWRPLWLJDWHWKHDGYHUVHDFWXDODQGSRWHQWLDOLPSDFWRI)LVHUY¶VDFWVRPLVVLRQV

FRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQVLQFOXGLQJSURYLGLQJLQFUHDVHGVHFXULW\DJDLQVWDQG

LQYHVWLJDWLQJIUDXGXOHQWRULQDFFXUDWHWUDQVDFWLRQVFDQFHOOLQJDQGUHLVVXLQJSD\PHQWFDUGV

LPSRVLQJZLWKGUDZDODQGWUDQVDFWLRQDOOLPLWVRQDFFRXQWVDQGORVLQJLQWHUHVWUHYHQXHDQGIHHV

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WKH0DVWHU$JUHHPHQWDVZHOODVDIWHU%HVVHPHUSURYLGHGDQRWLFHRIWHUPLQDWLRQRIWKH0DVWHU

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FDXVHGE\)LVHUY¶VQHJOLJHQFHJURVVQHJOLJHQFHRUUHFNOHVVQHVVZHUHPDWHULDOWR%HVVHPHUDQG

ZHUHMXVWLILDEO\UHOLHGRQE\%HVVHPHU)RUH[DPSOH)LVHUYKDVPDGHQXPHURXV

PLVUHSUHVHQWDWLRQVDERXWFRQVXPHUV¶ILQDQFLDODFFRXQWLQIRUPDWLRQLQFOXGLQJWKHDPRXQWV

FRQVXPHUVKDYHRQGHSRVLWZLWK%HVVHPHUWKHDPRXQWVPHPEHUVRZH%HVVHPHUWKHDPRXQWV

%HVVHPHURZHVWRPHPEHUVDQGWKHH[LVWHQFHDQGVWDWXVRIPHPEHUV¶DFFRXQWV$VDIXUWKHU

H[DPSOH)LVHUYKDVPDGHQXPHURXVPLVUHSUHVHQWDWLRQVDERXWWKHFDSDELOLWLHVDQGSULFHVRILWV

VHUYLFHRIIHULQJVWKHQHFHVVLW\IRUFHUWDLQUHSDLUVRUDGGLWLRQDOVHUYLFHVWKHDPRXQWV%HVVHPHU

RZHV)LVHUYDVUHIOHFWHGRQ)LVHUY¶VLQYRLFHVDQGWKHVHFXULW\RIPHPEHULQIRUPDWLRQZKLOHLQ

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VRFLDOGXWLHVWKDWDUHVHSDUDWHDQGGLVWLQFWIURPDQGFROODWHUDOWRDQ\VSHFLILFH[HFXWRU\

FRQWUDFWXDOSURPLVHV)LVHUY6ROXWLRQVPDGHWR%HVVHPHU7KHGXWLHVYLRODWHGE\)LVHUYDUHLQ

WKHQDWXUHRIDWRUWEHFDXVHWKHUHOHYDQWGXWLHV HJWKHGXW\WRQRWPDNHIDOVHDFWVRPLVVLRQV

FRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQV DURVHUHJDUGOHVVRIDQ\FRQWUDFWEHWZHHQ)LVHUY6ROXWLRQV

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,QGHHGDV)LVHUYDFNQRZOHGJHVLQLWVRZQ&RGHRI&RQGXFW %XVLQHVV(WKLFV³)LVHUYLV

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UHTXLUHVWKDWDOO)LVHUYFRPSXWHUV\VWHPVDQGQHWZRUNVRSHUDWHZLWKWKHDYDLODELOLW\HIILFLHQF\

UHOLDELOLW\DQGLQWHJULW\WKDWDUHH[SHFWHGRIV\VWHPVWKDWSURFHVVILQDQFLDOWUDQVDFWLRQVDQGVWRUH

ILQDQFLDOGDWD7KHFRPSDQ\LVILUPO\FRPPLWWHGWRRSHUDWLQJDQGPDLQWDLQLQJLWVWHFKQRORJ\

DVVHWVLQDPDQQHUWKDWPHULWVWKHWUXVWDQGFRQILGHQFHRIWKHFOLHQWVDQGFRQVXPHUVZHVHUYH´

Id:KDW¶VPRUHDV)LVHUYH[SODLQV³>E@HFDXVHWKHSULQFLSDOPDUNHWIRURXUSURGXFWVDQG

VHUYLFHVLVWKHUHJXODWHGILQDQFLDOVHUYLFHVLQGXVWU\WKHFRQVHTXHQFHVRIQRQFRPSOLDQWRIIHULQJV

FRXOGVHULRXVO\GDPDJHRXUUHSXWDWLRQDQGILQDQFLDOLQWHUHVWV´Id.)LVHUYWKXVNQHZLQOLJKWRI

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IDLOXUHWRVXSSO\IXOOIDLUDFFXUDWHDQGWLPHO\LQIRUPDWLRQWRDILQDQFLDOLQVWLWXWLRQVXFKDV

%HVVHPHUZRXOGQRWRQO\XQGHUPLQHDFOLHQW¶VMXVWLILDEOHWUXVWLQ)LVHUYEXWDOVRFDXVHVHULRXV

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PLVUHSUHVHQWDWLRQVWR%HVVHPHU¶VGHWULPHQWE\DPRQJRWKHUWKLQJVHQWHULQJLQWRWUDQVDFWLRQV

WKDWSURYLGHG)LVHUYZLWKDGGLWLRQDODQGH[FHVVLYHSURILWVSD\LQJ)LVHUYDPRXQWVWKDWZHUHQRW

MXVWO\GXHWRLWRUOHJDOO\FKDUJHDEOHDJDLQVW%HVVHPHUDQGHQJDJLQJLQWUDQVDFWLRQVZLWK

%HVVHPHU¶VPHPEHUVUHIXVLQJWRHQJDJHLQWUDQVDFWLRQVZLWKPHPEHUV LQFOXGLQJZLWKKROGLQJ

IXQGVMXVWO\RZLQJWRPHPEHUV RURWKHUZLVHGHDOLQJZLWKPHPEHUVEDVHGXSRQWKHIDOVH

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ORVVRIDQGDOWHUDWLRQVWR%HVVHPHU¶VDFFRXQWUHFRUGVDQGLQIRUPDWLRQ7KHVHUHFRUGVDQG

LQIRUPDWLRQDUHVWRUHGLQDWDQJLEOHIRUPDWLQLQIRUPDWLRQWHFKQRORJ\V\VWHPVRURWKHUPHGLD

DGPLQLVWHUHGE\)LVHUY)LVHUY6ROXWLRQVDFNQRZOHGJHGWKDW%HVVHPHU¶VUHFRUGVDQGLQIRUPDWLRQ

³VKDOOUHPDLQWKHSURSHUW\RI>%HVVHPHU@´ 0DVWHU$JUHHPHQW E )XUWKHUVXFKSURSHUW\LV

LGHQWLILDEOHZLWKPHUJHGLQWRRURIWKHNLQGFXVWRPDULO\LGHQWLILHGZLWKDQGPHUJHGLQWR

GRFXPHQWV,QGHHGVXFKUHFRUGVDQGLQIRUPDWLRQHPERG\DQGUHSUHVHQWZLWKRXWOLPLWDWLRQWKH

WLWOHWRWKHVKDUHV%HVVHPHUPHPEHUVRZQDVZHOODVGHEWVDQGRWKHUREOLJDWLRQVRI%HVVHPHUWR

LWVPHPEHUV6XFKUHFRUGVDQGLQIRUPDWLRQWKXVHPERG\UHSUHVHQWWKHWLWOHWRDQGDUHHVVHQWLDO

WRSURWHFWLQJDQGHQIRUFLQJSURSHUW\ULJKWVDQGRWKHUOHJDOO\HQIRUFHDEOHREOLJDWLRQV0RUHRYHU

VXFKUHFRUGVDQGLQIRUPDWLRQZHUHFUHDWHGDQGPDLQWDLQHGDVDUHVXOWRI%HVVHPHU¶VVXEVWDQWLDO

LQYHVWPHQWRIWLPHHIIRUWDQGPRQH\

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%HVVHPHUDQGLWVPHPEHUVKDYHVXIIHUHGDQGZLOOFRQWLQXHWRVXIIHUGDPDJHVDQGKDUP6XFK

GDPDJHVDQGKDUPLQFOXGHSD\PHQWVPDGHWR)LVHUYIRUVHUYLFHVWKDWZHUHQRWSURSHUO\

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LGHQWLW\WKHIWDQGIUDXGDQGWLPHDQGHIIRUWQHHGHGWRPLWLJDWHWKHDGYHUVHDFWXDODQGSRWHQWLDO

LPSDFWRI)LVHUY¶VDFWVRPLVVLRQVFRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQVLQFOXGLQJSURYLGLQJ

LQFUHDVHGVHFXULW\DJDLQVWDQGLQYHVWLJDWLQJIUDXGXOHQWRULQDFFXUDWHWUDQVDFWLRQVFDQFHOOLQJDQG

UHLVVXLQJSD\PHQWFDUGVLPSRVLQJZLWKGUDZDODQGWUDQVDFWLRQDOOLPLWVRQDFFRXQWVDQGORVLQJ

LQWHUHVWUHYHQXHDQGIHHVGXHWRUHGXFHGDFFRXQWXVDJH

                                   6HYHQWK&ODLPIRU5HOLHI
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UHFRUGVDQGLQIRUPDWLRQDUHVWRUHGLQDWDQJLEOHIRUPDWLQLQIRUPDWLRQWHFKQRORJ\V\VWHPVRU

RWKHUPHGLDDGPLQLVWHUHGE\)LVHUY)LVHUY6ROXWLRQVDFNQRZOHGJHGWKDW%HVVHPHU¶VUHFRUGVDQG

LQIRUPDWLRQ³VKDOOUHPDLQWKHSURSHUW\RI>%HVVHPHU@´ 0DVWHU$JUHHPHQW E )XUWKHU

VXFKSURSHUW\LVLGHQWLILDEOHZLWKPHUJHGLQWRRURIWKHNLQGFXVWRPDULO\LGHQWLILHGZLWKDQG

PHUJHGLQWRGRFXPHQWV,QGHHGVXFKUHFRUGVDQGLQIRUPDWLRQHPERG\DQGUHSUHVHQWZLWKRXW

OLPLWDWLRQWKHWLWOHWRWKHVKDUHV%HVVHPHUPHPEHUVRZQDVZHOODVGHEWVDQGRWKHUREOLJDWLRQVRI

%HVVHPHUWRLWVPHPEHUV6XFKUHFRUGVDQGLQIRUPDWLRQWKXVHPERG\UHSUHVHQWWKHWLWOHWRDQG

DUHHVVHQWLDOWRSURWHFWLQJDQGHQIRUFLQJSURSHUW\ULJKWVDQGRWKHUOHJDOO\HQIRUFHDEOH

REOLJDWLRQV0RUHRYHUVXFKUHFRUGVDQGLQIRUPDWLRQZHUHFUHDWHGDQGPDLQWDLQHGDVDUHVXOWRI

%HVVHPHU¶VVXEVWDQWLDOLQYHVWPHQWRIWLPHHIIRUWDQGPRQH\

        %HVVHPHUDOVRKDVDSURSHUW\LQWHUHVWLQIXQGVGHSRVLWHGLQPHPEHUV¶VKDUHGUDIW

DFFRXQWVRURWKHUZLVHLQWKHFXVWRG\RI%HVVHPHUDVZHOODVLQIXQGVWKDWDUHGXHDQGRZLQJWR

%HVVHPHUDQGLWVPHPEHUV6XFKIXQGVDUHVSHFLILFDOO\LGHQWLILDEOHDQGVXEMHFWWRDQREOLJDWLRQ

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RZQHUVKLSRIVXFKSURSHUW\$OWHUQDWLYHO\WRWKHH[WHQWVXFKSURSHUW\LVRZQHGE\%HVVHPHU¶V

PHPEHUVWKRVHPHPEHUVKDYHDXWKRUL]HG%HVVHPHUWRSRVVHVVVXFKSURSHUW\

        $VEHWZHHQ%HVVHPHUDQG)LVHUY%HVVHPHUKDVVXSHULRUSRVVHVVRU\ULJKWVLQWKLV

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        %HVVHPHUDQGLWVDXWKRUL]HGPHPEHUVKDYHGHPDQGHGWKDW)LVHUYUHWXUQDQGPDNH

DYDLODEOHVXFKSURSHUW\RUVXFKGHPDQGZDVH[FXVHGDQGUHQGHUHGXQUHDVRQDEOHE\)LVHUY¶VDFWV

DQGRPLVVLRQV

        )LVHUYKDVFRQYHUWHGDQGPLVDSSURSULDWHGWKLVSURSHUW\E\UHIXVLQJWRUHWXUQLW

GHVWUR\LQJLWFRPSURPLVLQJLWVLQWHJULW\PLVXVLQJLWLQWHUIHULQJZLWK%HVVHPHU¶VXVHDQG

SRVVHVVLRQRILWDQGRWKHUZLVHGHDOLQJZLWKLWLQDPDQQHULQFRQVLVWHQWZLWK%HVVHPHU¶VVXSHULRU

SRVVHVVRU\ULJKWV)LVHUY¶VFRQYHUVLRQDQGPLVDSSURSULDWLRQRIVXFKSURSHUW\ZDVGRQHZLWKRXW

%HVVHPHU¶VFRQVHQWDQGZLWKRXWODZIXOMXVWLILFDWLRQ

        )LVHUY¶VPLVFRQGXFWKDVKDGWKHHIIHFWRIDOORZLQJLWWRUHDSWKHEHQHILWVRI

XQODZIXOO\SRVVHVVLQJVXFKSURSHUW\E\DPRQJRWKHUWKLQJVLQVLVWLQJWKDW%HVVHPHUSD\)LVHUY

IRUDGGLWLRQDOVHUYLFHVDQGSURKLELWLQJ%HVVHPHUIURPSHUIRUPLQJVXFKVHUYLFHVRQLWVRZQ

DFFRXQWRUWKURXJK)LVHUYFRPSHWLWRUVZKLOH)LVHUYKROGV%HVVHPHU¶VDFFRXQWUHFRUGVDQG

LQIRUPDWLRQKRVWDJH

        )LVHUY¶VLQWHUIHUHQFHZLWK%HVVHPHU¶VSURSHUW\ULJKWVKDVRFFXUUHGRQPDQ\

RFFDVLRQVGXULQJWKHFRXUVHRIWKHSDUWLHV¶UHODWLRQVKLSDQGDIWHU%HVVHPHUSURYLGHGDQRWLFHRI

WHUPLQDWLRQRIWKH0DVWHU$JUHHPHQWRQ$SULO

        )LVHUY¶VLQWHUIHUHQFHZLWK%HVVHPHU¶VSURSHUW\ULJKWVYLRODWHVEURDGVRFLDOGXWLHV

WKDWDUHVHSDUDWHDQGGLVWLQFWIURPDQGFROODWHUDOWRDQ\VSHFLILFH[HFXWRU\FRQWUDFWXDOSURPLVHV




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EHFDXVHWKHUHOHYDQWGXWLHV HJWKHGXWLHVWRUHVSHFW%HVVHPHU¶VSURSHUW\ULJKWV DURVH

UHJDUGOHVVRIDQ\FRQWUDFWEHWZHHQWKHSDUWLHVWKH0DVWHU$JUHHPHQWVSHFLILFDOO\DFNQRZOHGJHG

WKDW%HVVHPHU¶VDFFRXQWUHFRUGVDQGLQIRUPDWLRQ³VKDOOUHPDLQWKHSURSHUW\RI>%HVVHPHU@´

    0DVWHU$JUHHPHQW E DQGLQDQ\HYHQW)LVHUYKDVYLRODWHGVXFKGXWLHVDIWHU%HVVHPHU

SURYLGHGDQRWLFHRIWHUPLQDWLRQRIWKH0DVWHU$JUHHPHQWRQ$SULO$FFRUGLQJO\WKH

GXWLHVYLRODWHGE\)LVHUYDUHGHILQHGE\WKHVRFLDOSROLFLHVHPERGLHGLQWKHODZRIWRUWV

           $VDGLUHFWDQGSUR[LPDWHUHVXOWRI)LVHUY¶VFRQYHUVLRQDQGPLVDSSURSULDWLRQ

%HVVHPHUDQGLWVPHPEHUVKDYHVXIIHUHGDQGZLOOFRQWLQXHWRVXIIHUGDPDJHVDQGKDUP

                                      (LJKWK&ODLPIRU5HOLHI
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           %HVVHPHULQFRUSRUDWHVDQGUHDOOHJHVWKHSUHFHGLQJSDUDJUDSKV

           %HVVHPHUKDVDSURSHUW\LQWHUHVWLQLWVDFFRXQWUHFRUGVDQGLQIRUPDWLRQ7KHVH

UHFRUGVDQGLQIRUPDWLRQDUHVWRUHGLQDWDQJLEOHIRUPDWLQLQIRUPDWLRQWHFKQRORJ\V\VWHPVRU

RWKHUPHGLDDGPLQLVWHUHGE\)LVHUY)LVHUY6ROXWLRQVDFNQRZOHGJHGWKDW%HVVHPHU¶VUHFRUGVDQG

LQIRUPDWLRQ³VKDOOUHPDLQWKHSURSHUW\RI>%HVVHPHU@´ 0DVWHU$JUHHPHQW E )XUWKHU

VXFKSURSHUW\LVLGHQWLILDEOHZLWKPHUJHGLQWRRURIWKHNLQGFXVWRPDULO\LGHQWLILHGZLWKDQG

PHUJHGLQWRGRFXPHQWV,QGHHGVXFKUHFRUGVDQGLQIRUPDWLRQHPERG\DQGUHSUHVHQWZLWKRXW

OLPLWDWLRQWKHWLWOHWRWKHVKDUHV%HVVHPHUPHPEHUVRZQDVZHOODVGHEWVDQGRWKHUREOLJDWLRQVRI

%HVVHPHUWRLWVPHPEHUV6XFKUHFRUGVDQGLQIRUPDWLRQWKXVHPERG\UHSUHVHQWWKHWLWOHWRDQG

DUHHVVHQWLDOWRSURWHFWLQJDQGHQIRUFLQJSURSHUW\ULJKWVDQGRWKHUOHJDOO\HQIRUFHDEOH

REOLJDWLRQV0RUHRYHUVXFKUHFRUGVDQGLQIRUPDWLRQZHUHFUHDWHGDQGPDLQWDLQHGDVDUHVXOWRI

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RZQHUVKLSRIVXFKSURSHUW\$OWHUQDWLYHO\WRWKHH[WHQWVXFKSURSHUW\LVRZQHGE\%HVVHPHU¶V

PHPEHUVWKRVHPHPEHUVKDYHDXWKRUL]HG%HVVHPHUWRSRVVHVVVXFKSURSHUW\

        )LVHUYKDVDFFHSWHGGHOLYHU\RI%HVVHPHU¶VDFFRXQWUHFRUGVDQGLQIRUPDWLRQDQG

EHFDPHDEDLOHHRIVXFKSURSHUW\WKHUHE\XQGHUWDNLQJGXWLHVLQGHSHQGHQWRIDQ\FRQWUDFWXDO

GXW\WRDFFRXQWIRUVXFKSURSHUW\DQGWRFDUHIRULW

        $VSDUWRIWKLVEDLOPHQWLWZDVXQGHUVWRRGWKDW)LVHUYZRXOGXVHVXFKSURSHUW\IRU

WKHOLPLWHGSXUSRVHVDXWKRUL]HGE\%HVVHPHUDQGZRXOGUHWXUQLWDVDJUHHGRUXSRQGHPDQG

        %HVVHPHUDQGWKRVHDXWKRUL]HGWRUHFHLYHLWVSURSHUW\KDYHGHPDQGHGWKDW)LVHUY

UHWXUQVXFKSURSHUW\RUVXFKGHPDQGZDVH[FXVHGDQGUHQGHUHGXQUHDVRQDEOHE\)LVHUY¶VDFWV

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        )LVHUYEUHDFKHGLWVGXW\DVDEDLOHHE\UHIXVLQJWRUHWXUQ%HVVHPHU¶VDFFRXQW

UHFRUGVDQGLQIRUPDWLRQGHVWUR\LQJWKHPFRPSURPLVLQJWKHLULQWHJULW\PLVXVLQJWKHP

LQWHUIHULQJZLWKWKHPDQGRWKHUZLVHGHDOLQJZLWKWKHPLQDPDQQHULQFRQVLVWHQWZLWK)LVHUY¶V

EDLOHHGXWLHVDQG%HVVHPHU¶VVXSHULRUSRVVHVVRU\ULJKWV

        )LVHUY¶VEUHDFKHVRILWVEDLOHHGXWLHVRFFXUUHGRQPDQ\RFFDVLRQVGXULQJWKH

FRXUVHRIWKHSDUWLHV¶UHODWLRQVKLSDQGDIWHU%HVVHPHUSURYLGHGDQRWLFHRIWHUPLQDWLRQRIWKH

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        )LVHUY¶VLQWHUIHUHQFHZLWK%HVVHPHU¶VSURSHUW\ULJKWVYLRODWHVEURDGVRFLDOGXWLHV

WKDWDUHVHSDUDWHDQGGLVWLQFWIURPDQGFROODWHUDOWRDQ\VSHFLILFH[HFXWRU\FRQWUDFWXDOSURPLVHV

)LVHUY6ROXWLRQVPDGHWR%HVVHPHU7KHGXWLHVYLRODWHGE\)LVHUYDUHLQWKHQDWXUHRIDEDLOPHQW

FODLPEHFDXVHWKHUHOHYDQWGXWLHV HJWKHGXWLHVLPSRVHGRQDEDLOHHRIDQRWKHU¶VSURSHUW\ 

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>%HVVHPHU@´ 0DVWHU$JUHHPHQW E DQGLQDQ\HYHQW)LVHUYKDVYLRODWHGVXFKGXWLHVDIWHU

%HVVHPHUSURYLGHGDQRWLFHRIWHUPLQDWLRQRIWKH0DVWHU$JUHHPHQWRQ$SULO

$FFRUGLQJO\WKHGXWLHVYLRODWHGE\)LVHUYDUHGHILQHGE\WKHVRFLDOSROLFLHVJRYHUQLQJWKHODZRI

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         $VDGLUHFWDQGSUR[LPDWHUHVXOWRI)LVHUY¶VEUHDFKRILWVEDLOHHGXWLHV%HVVHPHU

DQGLWVPHPEHUVKDYHVXIIHUHGDQGZLOOFRQWLQXHWRVXIIHUGDPDJHVDQGKDUP

                                    1LQWK&ODLPIRU5HOLHI
                               0LVDSSURSULDWLRQRI7UDGH6HFUHWV

         %HVVHPHULQFRUSRUDWHVDQGUHDOOHJHVWKHSUHFHGLQJSDUDJUDSKV

         %HVVHPHULVWKHRZQHURIDOOULJKWWLWOHDQGLQWHUHVWLQDQGWRFHUWDLQYDOXDEOH

WUDGHVHFUHWVUHODWLQJWRILQDQFLDOEXVLQHVVWHFKQLFDOHFRQRPLFFXVWRPHULQIRUPDWLRQSURJUDP

GHYLFHVPHWKRGVSURJUDPVDQGFRGHV%HVVHPHU¶VWUDGHVHFUHWVLQFOXGHEXWDUHQRWOLPLWHGWR

LWVPHPEHULQIRUPDWLRQDFFRXQWVDFFRXQWUHFRUGVDQGLQIRUPDWLRQFUHGLWLQIRUPDWLRQDQG

PHWKRGVSURJUDPVDQGFRGHVXVHGE\DXWKRUL]HGPHPEHUVWRDFFHVVRQOLQHEDQNLQJDFFRXQWV

DQGWRFRQGXFWDQGWUDQVDFWEXVLQHVVWKURXJKDFFRXQWVPDLQWDLQHGZLWK%HVVHPHU LQFOXGLQJ

ZLWKRXWOLPLWDWLRQZLWKGUDZLQJDQGWUDQVIHUULQJIXQGV DQGFRQILGHQWLDOLQIRUPDWLRQUHJDUGLQJ

OLQNHGDFFRXQWVDFFHVVLEOHWKURXJK%HVVHPHU¶VRQOLQHEDQNLQJV\VWHPWKDWSHUPLW%HVVHPHUDQG

LWVPHPEHUVWRWUDQVIHURUZLWKGUDZIXQGVIURPDFFRXQWVPDLQWDLQHGDW%HVVHPHUDVZHOODVRWKHU

ILQDQFLDOLQVWLWXWLRQV

         2WKHUWKDQWKURXJKXQODZIXODFTXLVLWLRQWKHWUDGHVHFUHWVDUHQRWNQRZQWRWKH

SXEOLFDQGDUHQRWUHDGLO\DVFHUWDLQDEOHE\SURSHUPHDQVWRSHUVRQVZKRFRXOGGHULYHYDOXHIURP

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VHFUHWVLQFOXGLQJUHTXLULQJLWVPHPEHUVWRPDLQWDLQWKHFRQILGHQWLDOLW\RIRQOLQHEDQNLQJDFFHVV

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           %HVVHPHUKDVLQYHVWHGVXEVWDQWLDOUHVRXUFHVLQGHYHORSLQJDQGSURWHFWLQJLWVWUDGH

VHFUHWV%HVVHPHU¶VWUDGHVHFUHWVSURYLGHLWZLWKHFRQRPLFDGYDQWDJHVRYHULWVFRPSHWLWRUV

           )LVHUYNQHZRUVKRXOGKDYHNQRZQWKDWWKHWUDGHVHFUHWVDWLVVXHFRPSULVHG

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           )LVHUYPLVDSSURSULDWHG%HVVHPHU¶VWUDGHVHFUHWVE\DFTXLULQJWKHPWKURXJK

LPSURSHUPHDQVFRQVLVWLQJRIIDOVHDFWVRPLVVLRQVFRQFHDOPHQWVDQGPLVUHSUHVHQWDWLRQV

7KHVHLPSURSHUPHDQVLQFOXGH)LVHUYPLVUHSUHVHQWLQJWR%HVVHPHUWKHH[LVWHQFHDQGQDWXUHRI

)LVHUY¶VVHFXULW\FRQWUROVLQFOXGLQJIDOVHO\UHSUHVHQWLQJWR%HVVHPHUWKDWWKH)LVHUYKRVWHG

RQOLQHEDQNLQJZHEVLWHWKDWZDVXVHGWRVWRUHDQGDFFHVV%HVVHPHU¶VWUDGHVHFUHWVKDGDQ

DGHTXDWHDXWKHQWLFDWLRQSURFHVVWKDWZDVFRPSOLDQWZLWK)),(&VWDQGDUGV+DG)LVHUYSURYLGHG

WUXWKIXOLQIRUPDWLRQWR%HVVHPHU%HVVHPHUZRXOGQRWKDYHIXUQLVKHGLWVWUDGHVHFUHWVWR)LVHUY

DQGDOORZHGDQGFRQWLQXHGWRDOORZWKRVHWUDGHVHFUHWVWREHVWRUHGDQGDFFHVVLEOHRQDQ

LQVHFXUH)LVHUYKRVWHGZHEVLWH

           )LVHUYKDVDOVRPLVDSSURSULDWHG%HVVHPHU¶VWUDGHVHFUHWVE\XVLQJWKHPZLWKRXW

%HVVHPHU¶VH[SUHVVRULPSOLHGFRQVHQW)LVHUY¶VLPSURSHUXVHRI%HVVHPHU¶VWUDGHVHFUHWV

LQFOXGHVXVLQJWKHPFRQWUDU\WR%HVVHPHU¶VLQVWUXFWLRQVDQGDIWHUEHLQJWHUPLQDWHGDVDYHQGRU

E\%HVVHPHUVXFKDVE\IDLOLQJWRUHWXUQWKHWUDGHVHFUHWVWR%HVVHPHUDVGLUHFWHGDQGLQVWHDG

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ZLWKRXW%HVVHPHU¶VH[SUHVVRULPSOLHGFRQVHQWLQFOXGLQJE\PDNLQJWKHWUDGHVHFUHWVDYDLODEOH

WRKDFNHUVDQGRWKHULQGLYLGXDOVQRWDXWKRUL]HGWRDFTXLUHWKHWUDGHVHFUHWV

        $WWKHWLPHRI)LVHUY¶VXVHDQGGLVFORVXUHRI%HVVHPHU¶VWUDGHVHFUHWV)LVHUY

NQHZRUKDGUHDVRQWRNQRZWKDWLWDFTXLUHGWKHWUDGHVHFUHWVE\LPSURSHUPHDQVXQGHU

FLUFXPVWDQFHVJLYLQJULVHWRDGXW\WRPDLQWDLQWKHLUVHFUHF\RUOLPLWWKHLUXVHIURPRUWKURXJKD

SHUVRQZKRKDGDGXW\WR%HVVHPHUWRPDLQWDLQWKHWUDGHVHFUHWV¶VHFUHF\DQGOLPLWWKHLUXVHRU

E\PLVWDNHSULRUWRDPDWHULDOFKDQJHRI)LVHUY¶VSRVLWLRQ

        )LVHUY¶VPLVDSSURSULDWLRQRI%HVVHPHU¶VWUDGHVHFUHWVZDVGRQHIRULWVRZQ

FRPPHUFLDODGYDQWDJHLQFOXGLQJIRUWKHSXUSRVHVRISUHYHQWLQJ%HVVHPHUIURPXVLQJYHQGRUV

WKDWDUHFRPSHWLWLYHZLWK)LVHUYDQGFDXVLQJ%HVVHPHUWRHQWHULQWRWUDQVDFWLRQVWKDWSURYLGHG

)LVHUYZLWKDGGLWLRQDODQGH[FHVVLYHSURILWVDQGFROOHFWLQJDPRXQWVWKDWZHUHQRWMXVWO\GXHWR

)LVHUYRUOHJDOO\FKDUJHDEOHDJDLQVW%HVVHPHU

        )LVHUY¶VPLVDSSURSULDWLRQRI%HVVHPHU¶VWUDGHVHFUHWVZDVFDUULHGRXWLQD

NQRZLQJZLOOIXOUHFNOHVVDQGPDOLFLRXVPDQQHULQGLVUHJDUGDQGYLRODWLRQRI%HVVHPHU¶VULJKWV

        )LVHUY¶VPLVDSSURSULDWLRQRI%HVVHPHU¶VWUDGHVHFUHWVYLRODWHVEURDGVRFLDOGXWLHV

WKDWDUHVHSDUDWHDQGGLVWLQFWIURPDQGFROODWHUDOWRDQ\VSHFLILFH[HFXWRU\FRQWUDFWXDOSURPLVHV

)LVHUY6ROXWLRQVPDGHWR%HVVHPHU7KHGXWLHVYLRODWHGE\)LVHUYDUHLQWKHQDWXUHRIDWUDGH

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